Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 1 of 44 Page ID #:21




                            EXHIBIT A
        Case 2:15-cv-03813-MWF-PJW
           CORPORATE               Document 5-1 Filed 05/20/15 Page 2 of 44 Page ID #:22
                           CREATIONSe
                 Registered Agent • 01rector • Incorporation

Corporate Creations Network Inc.                                                                                       May 6, 2015
11 380 Prosperity Farms Road #221 E. Palm Beach Gardens. FL 3 3410




                Dollar Tree Stores. Inc.
                Debbie Torrence Legal Administrative Assistant
                Dollar Tree, Inc.
                500 Volvo Parkway
                CHESAPEAKE VA 23320




SERVICE OF PROCESS NOTICE
The following is a courtesy summary of the enclosed document(s). ALL infonnatlon should be verified by you.
                                                                                                    .
Note· Any questions regarding the substance of the matter described below including the status or to whom or
where to respond, should be directed to the person set forth in line 12 below or to the court or government
agency where the matter is being heard.                                                                                                               I   Item: 2015-1992

   1.                     Client Entity: Dolla r Tree Stores, Inc .

   2.                   Title of Action : Curtis Patton vs. Dollar Tree Stores, Inc., et al.



   3.          Document(e) Served: Summons
                                   Civil Case Cover Sheet
                                   Civil Case Cover Sheet Addendum and Statement of Location
                                   Complaint

   4.                   Court/Agency: Los Angeles County Superior Court

   5.                    State Served: California
   6                    Case Number: BC577498
   7.                        Case Type: Other Employment
   8.             Method of Service: Hand Delivered
   9.                  Date Received: T uesday 5/5/201 5 1:14 PM

 10.                    Date to Client: Wednesday 5/06/2015

 11     # Days When Answer Due: 30                                               CAUTION Client Is solely responsible lor verifying the accuracy ol the esbmaled Answer Due
                                                                                 Date To avoid m1ss1ng a crucial deadhne. we recommend 1mmed1ately conlirm1ng 1n wntmg
                   Answer Due Date: 6/4/2015                                     w1th opposing counsel that the date ol service In the1r records matches the Date Received

 12.                      SOP Sender: Mike Arias, Esq.
                                      555 12th Street, Suite 1230
          (N...,., Addrwu 1111d Phone Numbet)
                                      Oakland, CA 94607
                                      855-481-1020 I Fax: 510-291 -9742

 13.          Shipped to Client By: Email Only with PDF Link
 14.              Tracking Number: Not Applicable
 15.                       Handled By: 051
 16.                               Notes: None.




NOTE: This notice and the infonnation above is ~rovided for general infonnational ~U!J:!OSes onl:t: and should not be considered a legal o~m ion . The
cli!:DI aos;l lb!:i[ l~:gal ~;guo:il:l lil[l: :u~ICil£ W5CCD5iblc (Q[ [l:li!il:lO!iDg lbC 5C[l(il:il: C( C[QQil55 aoa li!Cdb£iog lbc ag;U[IiiQ£ C( all iD(CIIIllilliCD At Corporate
Creations, we take pride in developing systems that effectively manage nsk so our clients feel comfortable with the reliability of our service We always
deliver service of process so our clients avoid the risk of a default judgment. As registered agent, our role Is to receive and forward serv1ce of process.
To decrease risk for our clients, it is not our role to detennine the merits of whether service of process is valid and effective. It is the role of legal
counsel to assess whether service of process is invalid or defective. Registered agent services are provided by Corporate Creattons Network Inc.
                   11380 Prosperity Fanns Road #221 E. Palm Beach Gardens, FL 33410 Tel: (561 ) 694-8107                              Fax; (561) 694- 1639
                                                           www.CorporateCrealions.com
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 3 of 44 Page ID #:23



                                                                                                                                                        SUM-100
                                                 SUMMONS                                                                      FOR COURT US" ONLY
                                                                                                                           (SOLO PAAA USO Dl! LA CORn)
                                           (CITACION JUDICIAL)
     NOTICE TO DEFENDANT:
      AVISO AL DEMANDADOJ:                                                                                              CONFORMED COPY
                                                                                                                             ORIGINAL FILED .
      DOLLAR TR.EE STORES, INC .. n Virginia corporation; and DOES I                                                    Superior   Court of Catllomta
                                                                                                                           county of LosAngotss
      through I00, inclusive
     YOU ARE BEING SUED BY PLAINTIFF:                                                                                         APR 02 2015
     (LO ESTA DEMANDANDO EL DEMANDANT£):
                                                                                                                   sttem A. Carter, Executive Officer/ClerK
      CURT IS PATTON, an individual, on behalf of hi mself and all olhers                                               By Myrna Beltran, Deputy
      similarly situated
       NOnCE! You have been sued. The court may docide G(lal nsl you wllhout your being heard unless you respond wtlhln 30 days. Read the informallon
      below
          You have 30 CALENDAR DAYS aflcr this summons and legal papers are servt>d on you to file a wntten response a1 thts court and have a copy
      served on the p lalnliiT. A leuer Of phone call wnl not protect you. Your w r11ten response m usl be in proper legal form if you want the court to hear your
      case There may be a alUrt form that you can use tor your response. You can find these court ronns and more tnformation althe Cslllomla Courts
      Online Self-Help Center (www.coun1nfo cn.gov/Sitllhelp). your county law library, or the courthouse nearest you. If you cannot pay the lillnD fee, ask
      llle court dell< for a fee w aiver form . If you do nol file your response on ~me . you may lose the case by defaufl. and your wages.. money, and property
      may be taken withoul further wam10g from the court.
          There are other legal requirements. You ma y want lo call an altorney rig hl wway. lf you d o not kloow an allomey, you may w antlo call an allomey
      referral seMcc. II you cannot afford an allorney, you may be eligible for tree legal services from a nonprofit legal SCMa>s program. You can locale
      these nonprofil oroups at the California Leual Services W eb site (w.vw la whe!pcafifomia oruj. the Calolorma Courts Online Self-Help Cenler
      (www.counrnfo.ca.gov/Salfhe/p), or by CDnladlng your local court or ceunly bar a&&odation. NOTE: The court has a stalulory llen lor waowd fees and
      costs on any settlement or artlltrallon award of S 10.000 or more In a civil case. The court's lien must be paid before the court w lll dismiss the case.
      /A VISO/ L.o han rlemandado Sl no respondo dell liD do 30 dies. Ia ceria puede decidlr on su centra sin escuchar su versiOn. Lea Ia infonnaci6n a
      conr.nuao6n
         Tieno 30 DIAS DE CALENDARIO despulls de que Ia antroguen esto r:Jtac/011 y papeteslegales para prescnt<~r tJna respueSII! por esr::nta en esta
      corte y hacer quo .se B!llreguo una cop/a at demandanle. Una r;al1a o una 1/am/lda talefOnics no Ia prolegon. Su rospuosts par eSCJJio //1!1'10 que aster
      en formato legal correcto sJ rlesea qua processn su caso an Is coria. Es poslble que haya un formulsn'o que usted puflda ussr para su respuesta
      Puade onconlrar estos formulonos do Ia coney mlls mformacion en of Centro de Ayuda de las Col1es do Colrfomia (wwW_sucorte.ca.gov}. en Is
      biblioleca de layus riB su CDndado o en to cone que le quede mtls cerca Sino puflde pagar 18 rAJOra du prosentar:i(Jn, pida al secreta ria cJrJ Ia corte
      que to de un formulsno cJe wrenci6n do pDgo do cuotos. Sino pre.sento su rospuesta a hempo, puade perdor el case por rncumpOmionlo y fa cone Ia
      podttJ qwtar su sue/do. diniJIO y bienos sin mas oclllertoncla.
        Hay otros requisltoslegalsS Es roo:Jmendable quo /lome a un abogDdo inmedialomente. Sl no conore a un tJbogado. puede /lamar a un sBNicia ds
      mmis/611 o abogados. Sl no puado pagar a un sbogado, os posible qvo rAJmp/a con los roqulsitos para alltenor sefVir:ios legates gratultns do un
      programa de seNieios legales sin finss de lur.ro. Puede encon/rar estos grupos sin lines de /uao an at sit/a wall de Galifomia Legal Services.
      (WwW .lawhclpcalifomia.org}, en ol C6n/ro do Ayvda de las Corl8s de California. (wwW.sucorte.ca.gov) o ponldndoso en con/acto ron Ia cona o 8/
      coJeg/o ds ai>Ogfldos localas. AVISCl Par ley, Is cone tiona derecha a raclamar los cuora,; y los oostos exantos par imponer un gravamen sobre
      cualquier recuperaci6n de $10,000 o mlls de valor rodblds madianle un acverdo o una concosion de artJ/traje en un casa de dorocho CIVIl. Tlone quo
      psgar eJ gravomsn de lo cone antes do quo Ia con e puado desaclrar at caso
    The name and address of the court is:                                                                     CASE NUMBER·                                  8
    (Einombre ydireccidndelacorlees):SUPERIOR COURT OF CALIFORN IA                                            ,--.o«cosol       BC 5 7 7 4 9
     COUNTY OF LOS ANGELES, Stanley Mosk Courthouse, Ill N. Hill
     Street, Los Angeles, California 90012
    The name. addness, and telephone number of plaintiffs atlomey, or plaintiff without an attorney, Is:
    (EI nombre, Ia dlreccl6n y el mimaro de /e~fono del obogado del demnndante, o del demandonte qua no Iiane abogado, es):
     Mike Arias, Esq., 555 12Lh Street, Suite 1230, Oakland, California 94607: Tel. (855) 481 - 1020

    DATE:                                                                Clerl<. by                                                                    • Deputy
    (Fec/19)                             3HE.RfUR-CARff!..~              (Secretario)                               m'RNA BELTRAN                       (Adjunlo)
    (For proof of service of this summons, usa Proof of Service of Summons (form POS-010).)
    (Para prveba do entrega de esta citatl6n uso at formulan'o Proof of Service of Summons. (POS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
     (SEAl I
                                      1.         D
                                              as an individual defendant
                                      2.         0
                                              as lhe person sued under lhe fictitious name of (specify):

                                                 ..-+..£'                             D.. il~r   T~         s-k'> '       "JN-_         .... v"'""~ . .
           APR 0 2 2015                     3
                                                ..lAJ       on behalf of (specify):                                                 '
                                                                                                                                                 cJ"     • ""-
                                                                                                                                                         ~~
                                                 under.      [ZJ    CCP 416. 10 (corporation)                  0       CCP 416.60 (minor)          7
                                                             0      CCP 416 .20 (defunct corporation)          D       CCP 416.70 (c:onservatee)
                                                             D      CCP 416.40 (ossociallon or partnership)    0       CCP 416.90 (aulhori~ person)
                                                             D      other (specify):
                                            4.   D          by personal delivery on (date):
                                                                                                                                                          Pa     1of1
     Form ~ed for MtndAlot) Uw.                                                 SUMMONS                                            ~oiCMIPn>aoclunl!i§ •t:UO, -IM
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          , ~IIEY OR PAit.T't' WTJW! ATIORI\oEY (N.,., Slate BM .....-; •lid -1'8#)
          Mike Arias,~ - (~HN 115385)
          Arias, SanJnJinctti, Stahle & Toniios, LLP
          555 12th Srrcct, Suite 1230                                                                                                     CONFORMED C OPY
          Oakland, California 94607                                                                                                           ORIGINAL FILED
                                        (855) 481 -1 020                      FAX NO (510) 291-9742                                      Superior Court o f Callfomla
  I             TElfPHONENO
    .t.nORNEY FOR !NomeJ                C urtJS P=att::..:.:::o.::n:.___ __- - : - - - - : - - - - - - - - - -- ----1                      County of l os Anoeres
   SUPERIOR COURT OF CAUFORNIA, COUNTY OF LOS                         Angeles
               s~eerAOORess             Ill N . Hill Street                                                                                   APR 02 2l
  I            MAILING ADORESS
           C ITY AND ZIP C <XlE         Los AngeJes, CaliJornia 90012                                                            Shem A. Carter, Executive Utficer/Cie 1<
                 BRANCH NAME            Stanley Mosk Courthouse                                                                         By Myrna Beltran, Deputy
       CASE NAME:
       Patton v. Dollar Tree Stores, Inc.
              CIVIL CASE COVER SHEET                                        Complex Caae Designation                       CASeNB
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      0         Unlimited
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                demanded                        demanded ts            F1led with first ap pearance by defend ant
                exceeds $25,000)                $25,000 or less)           (Cal. Rules of Court, rule 3.402)                DEPT
  ,.--::---- __                 Items 1-6 below must be completed (see mstruct10ns on page
                                                                                       ."'""-';...2""?).;..·- -- - - - -- -- - ---.
  h. Check one box below for the case type that best descnbes th1s case:
          AulD Tort                                                  Contf'llct                                    ProviSIOnally Complex Civil L ltlglltiOn
          D        Auto (22)                                         D      Breach of contract/INarranty (06)      (Cal. Rulu of C ourt, rules 3.40C>--3.403)
          D        Uninsured motorist (46)                           D      Rule 3 740 collections (09)           D      Anlitrustffrade regulalion (03)
          Other PIJPOIWO (Personal Injury/Property                   D      Other collectoons (09)                C      ConstructiOn defect (1 0)
          Da m~ge/Wro nghll o . .t n) Tort                           D      Insurance coverage (18)               D      Mass ton (40)
          D        Asbestos (04)                                     D Other contract (37)                        D       Secunties litigation (28)
          C        Product liability (24)                            Rat Property                                 D       EnwonmentaVToXIC tort (30)
          D        Medical malpractoce (45)                          D condemnation
                                                                          Emonent domainJinverse                  D       Insurance coverage daims arlslng from the
          D        Other PI/PDIWD (23)                                                 (14)                               abOVe hsted proVISoooaUy complex case
          No n-PI/POIWD (Other) Tort                                 D Wrongful eviction (33)                             types (41)

          D    BuStness tort/\mfalr business practoce (07)           D Other real property (26)                    Enforcement of Judgment
          D    Civil rights (081                           Unlawful Detainer                                      D      Enforcement or judgment (20)
          D    Defamation (13)                                       0
                                                                 Commeroal (31)                                   Mlacellaneoua Civil Complaint
          D    Fraud(16)                                             D
                                                                 Resldent1al (32)                                 D      RIC0 (27)
          D    lntelledual property (1 9)                            D
                                                                 Drugs(38)                                        D      Other compla1nt (ncX speaf'led ebove) (42)
          D    ProfeSSional negligence (25)                Judlclel Review                                        Mlacelleneous Ci vil P.tlllon
          D    Other non-PIIPDIWO tort (35)                          D
                                                                 Asset lorfekure (05)
                                                                                                                  LJ     Partnership and corporate governance (21)
          Employment                                                 0
                                                                 Petillon re: artlltfatlon award (1 1)            D      Other petlbon (ncX spectfied above} (43)
          D    1/Vrongful terrnlnallon (36)                          D
                                                                 Wnt or mandate (02)
          [lJ Other employment (15)                                  D
                                                                 Other judicial review (39)
  2. This case        is     0    os not      W
                                             complex under rule 3.4 00 o f the California Rules of Court. If the case is complex, marl< the
     factors requinng exceptional j udicial management
          a.   D       Large number of separately represen ted parties                  d.   0    Large number of Witnesses
          b    D       Extens1ve motion practtce raiSing d ifficult or novel            e.   D    Coord1nauon With related actiOns pending in one or more courts
                       ISsues ltlat will be time<Onsuming to resolve                              1n other counties, s tates. or countnes, or 1n a federal court
          c.   D       Substantial amount of documentary evidence                       f    D    Substantial postjudgment JUdlctalsuperviSion

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                                                                                      NOTICE
      • Plaintiff must file thiS cover sheet w1th the first paper filed 1n the act1on or proceeding (except small claoms cases or cases filed
                                                                                                                                                                               l
        under the Probate Code, Fam1ly Code, or Welfare and lnst.1tut1ons Code). (Cal Rules of Court, rule 3 220.) Failure to file may result
        m sanctions.
      • File this cover sheet In addit1on to any cover sheet required by local court rule.
      • If this case is comp lex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve a copy of this cover sheet on all
        other parties to the act1on or proceeding
      • Unless th1s is a collections case under rute 3.740 or a complex case, this cover sheet Will be used for statistical purposes on~      ot
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      CM~IO (Rev     .1<1.., I, 2007)                                                                                                                       _,. CDUIIrllb .. f1DV
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 5 of 44 Page ID #:25

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         ike Arias, ·sq .        115385
                                                                     r-·            StateBMnutr~~Hr,•l!d-tes.)                                                                                           FOR CO!.ftT USE OHI. Y

       Arias. San~incni , Stahle & Torri1os, LLP
       555 12 th Street, Suite 12 ]0                                                                                                                                                                    CONFORMECJ C OPY
       Oakland. Ca lifornia 94607                                                                                                                                                                         ORIGINAL FilED
              TELEPI10NENO      ~55)               481-1020                                                FAXNO        (510)291-9742                                                                  Su8erfor Court ol California
   ATTORNEY FOR fl'l•me). unls Patton                                                                                                                                                                     ounty of los AnQeles
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
       STREET ADORESS I l l N . Hill Street                                                                                                                                                                  APR 02 2L
  l          ..WUNG AOORESS
         CITY AND ZIP CODE Los                An~esk California 90012                                                                                                                       Sham A. Carter, Executive UHicer/Cfe ~
               BRANCH NAME Stanley                                os           Counhouse                                                                                                        By Myrna Beltran, Deputy
       CASE NAME.
       Patton v. Dollar Tree Stores,                                           Inc.
                                                                                                                                                                                   CASE NUMBE.II'
            CIVIL CASE COVER SHEET                                                                              Complex Caae Designation
      [lJ     Unlimited
              (Amount
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                                                                  Counter              Joinder           D                                 D                                                BC 57 7 4 9 8                                                       I

              demanded                demanded rs          F1led with first appearance by defendant
                                                                                                          JUDGE                                                                                                                                                 I
              exceeds $25,000)        $25.000 or less)          (Cal. Rules of Court, rule 3.402)            DEPT                                                                                                                                               I
                         _ _             Items 1-6 below must be completed (see mstrocllons on page 2)
                _ o_n_e_box below for the case type that best describes thiS case:
  r;:-c.,..h_e_ck                                                                                   -"-'.....;;.<._ _ _ __ _ __                                                                                                    _

        Auto Tort                                                                                    Conrract                                                          Provlalon•lly Complex Civil Lltlg•tlon
        D    Auto (22)                                                                              D      Breach of contract/warranty (06)                            (Cal. Rules of Coun, rules 3.<100-3.<103)
        D     Uninsured motorist (46)                                                               D     Rule 3 740 collectiOns (09)                                  D         Antitrust!Tra<le regulation (03)
        Other PI/POJWD (Personal Injury/Property                                                    D Other collectiOnS (09)                                           C         ConstructJondefect (10)
        OaiT\llge/Wrongful O.•th) Tort                                                              D Insurance coverage (18)                                          D         Mass tort (40)
        D      Asbestos (04)                                                                        D Other contract (37)                                              D         Securities litigation (28)
        C      Product liability (24)                                                               Ru l Property                                                      D         EnwonmentaVToiOc tort (30)
        D      Medical malpractice (45)                                                             D Em1nem domain/Inverse                                            D         Insurance coverage dalms arising from the
        0      Other PIIPDIWO (23)                                                                        condemnation (14)                                                      above listed prOVISionaNy complex case
        Non-PI/PDfWD (Other) Tort                                                                   D Wrongful eviction (33)                                                     types (41)

        D        Busoness torti\Jnfalr bUSiness practice (07)                                       D Other real propeny (26)                                          Enforcement of Judgment
        D        CiVIl rights (08)                            Unlawful Detainer                                                                                        D         Enlorcement of judgment (20)
        D        Defamation (13)                                   Commercial (31)                  D                                                                  Mlacellaneou• Civil Complaint
        0        Fraud (16)                                        Residential (32)                 D                                                                  D                            RJC0(27)
        D  Intellectual propeny (1 9)                                                               D      Drugs (38)                                                  D                            Other complaint (no( speafl6d sbove) (42)
        0  ProfeSSional negligence (25)                                                         Judicial Rr.IM'W                                                                            MIKellaneous Civil Petition
        0  Other non-PIIPOIWO tort (35)                                                             D      Asset forfehure (05)                                                             ~ Partnership and corporate governance (21)
     Employment                                                                                     D      Peutlon re: arbitration award (11)
                                                                                                                                                                      D                             Other petition (not spectfied above) (43)
       D   wrongful tennlnauon (36)                                                                 D     Wnt of mandate (02)
       CZJ Other employment ( t 5)                                                                  0     Other Jud1cial review (39)
  2. This case          0 is          1s not    LLJ                                      com-
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        factors requiring exceptional judicial management
        a.   D      Large number of separately represented partJes                                                               d.   D        Large number of wrtnesses
        b    D      Extens1ve motion practice rais~ng d ifficult or novel                                                        e    D        Coordrnatron With related actions pending in one or more courts
                    1ssues that will be time~nsumrng to resolve                                                                                in other counties, states. or countnes. or rn a federal court
        c.   D      Substantial amount of documentary evrdence                                                                   f    D        Substantial postjudgment JUdroal superviSion

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                                                                                                                              NOTICE
      • Plaintiff must file thiS cover sheet wrth the first paper filed rn the actron or proceeding (except small clams cases or cases tiled
                                                                                                                                              ....,.. ----- -,
                                                                                                                                           SIGNA:..:::.....:_
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                                                                                                                                                           T~I,.RE~ OR ATTORNEY FOR PAR TY)

                                                                                                                                                                                                                                                        I
        under the Probate Code, Family Code. or Welfare and lnstrtutrons Code). (Cal Rules of Court, rule 3 220.) Failure Jo tile may result
        rn sanctrons.                                                                                                                           /
      • Frle this cover sheet In addit•on to any cover sheet required by local court rule.
      • If this case Is complex under rule 3.400 et seq. of the California Rules of Court. you must serve a copy of this cover sheet on all
        other parties to the action or proceeding



                                                                                                                                                                                                                 of----
      • Unless thiS Is a collectJons case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes on!>:,  of
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Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 6 of 44 Page ID #:26


 ISHORT Tm.E.
                 PATTON v. DOLlAR TREE ST ORES. INC.
                                                                                                          I
                                                                                                          CASE NUMIIER


                                                                                                                          BC577498
                                 CIVIL CASE COVER SHEET ADDENDUM AND
                                         STATEMENT OF LOCATION
                  (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

             T his fonn Is raquirad pursuant to Local Rule 2.0 in all new civil case filings in the Los Angeles Superior Court.

     Item I. Check the types of hearing and fill in the estimated length of hearing expected for this case:

       JURY TRIAL?       liZ']   YES    cLAss ACTIOt•n   0     YES LIMITED CASE?          D   YES     TIME ESTIMATED FOR TRIAL 15          0    HOURS!         RJ   DAYS


     Item II. Indic ate the correct district and courthouse location (4 steps- if you checked "Limited Ca.s e", skip to Item Ill, Pg. 4):


       Step 1: After first completing the Civil C ase Cover Sheet form, find the main Civil Case Cover Sheet heading for your
       case in the left margin below, and, to the right in Column A. the Civil C ase Cover Sheet case type you selected.


       Step 2: Check Q.!1! Superior Court type of action in C olumn B                       below which best describes the nature of this case.


      Step 3: In Column C. circle the reason for the court locabon choice that applies to the type of action you have
      checked. For any exception to the court location, see Local Rule 2.0.

                                 Applicable Reasons for Choosing Courthouse Location (see Column C below)

       1     Clau adiOO$ must be filed in the Stanley Mosk Courthouse, central dis1nd.           6.   Location of pro~ or pennanenUy garaged vehicle.
       2     May be filed in central (other counly, or no bodily injury/property damage).        7.   Location where petitioner resides.
        3.   Location where cause of action arose.                                               8.   Location wherein defendant/respondent fundlons whOlly.
       -4.   Location where bodily injury, death or damage occurred.                             9.   Location where one or mora of the parties reside.
       5.    Location where performance required or defendant resides.                          10.   Location of Labor Commissioner Office



      Step 4:        Fill in the information requested on page 4 in Item Ill; complete Item IV. Sign the declaration.



                                    A                                                          B                                                           c
                      CMI case Cover Sheet                                              Type of Action                                      Applicable Reasons -
                          Category No.                                                 (Check only one)                                      See Step 3 Abow

                                 Auto (22)          a    A7100 Motor Vehicle - Personal I11Jury/Property Damagelllllrongful Death           1., 2 .. ...


                      Uninsured Motonst (46)        a    A7110 Personal Injury/Property Oernage/Wrongful Death - Uninsured Motorist         1.. 2 ., ...


                                                    a    A8070 Asbestos Property Damage                                                    2
                            Asbestos (0-4)
                                                    a    A7221 Asbestos - Personallniuryi\M'ongfut Oealh                                   2.


                        Product Ua billty (2-4)     a    A7260 Product Liability (not asbestos or taxk:lenvironmental)                      1., 2., 3 .. 4., 6.


                                                    a    A7210 Med1C81 Malpractice - Physicians & Surgeons                                  1., ...
                      Medical Malpractice (-45)
                                                    0    A72-40 Other Professional Health Cara MalpractiCe                                  1.. ...

                                                    a    A7250 Premises Liability (e.g .. slip and faU)
                                                                                                                                            1., ...
                                  au-               0    A7230 Intentional Bodily lnli.M'YIProperty Oemage/IIVrongful Death (e .g .,
                           Personal lnjlq                                                                                                   1 , 4.
                         Property Damage                       assaun. vandatism, etc.)
                                                                                                                                            1., 3.
                          IM'ongful Death
                                (23)
                                                    a    A7270 lntentlonallnftidion of Emotional Distress
                                                                                                                                           1 . ...
                                                    a    A7220 Other Personal Injury/Property OamageM'rongfut Death



  LACJV 109 (Rev 03111)                           CIVIL CASE COVER SHEET ADDENDUM                                                       Local Rule 2.0
  LASC Approved 03..()4                              AND STATEMENT OF LOCATION                                                             Page 1 of4
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 7 of 44 Page ID #:27


 SHOAT TITLE                                                                                       CASE NUMBER
               PATTON v. DOLLAR TREE STORES, INC.


                              A                                                           8                                                          c
                   Civil Case Coller Sheet                                          Type of Action                                     Applicable Reasons •
                         Category No.                                              (Chedt only one)                                     See Step 3 Above

                      Business Tort (07)         0   A6029 Other Comrnerdai/BusJness Tort (not lraud/bl'each of contract)             1.• 3.


                       Civil Rights (08)         0   A6005 Civil Rights/Discrimination                                                1., 2 ., 3.


                       Defamation (13)           0   A6010 Defamation (slanoerlll bel)                                                1., 2 .• 3.


                          Fraud (16)             0   A6013 Fraud (no contract)                                                        1., 2 ., 3.


                                                 0   A6017 Legal Malpractice                                                          1.• 2 ., 3.
                Professional Negli{)ence (25)
                                                 0   A6050 Other Professional Malpractice (not medical or legal)                      1.. 2 .. 3.


                          Othef (35)             0   A6025 Other Non-Personal Injury/Property Damage tort                             2 ..3.


                  'Nrongful Termrnation (36)     0   A6037 wrongful Termlnabon                                                        1.. 2 .. 3.


                                                 Ill A602<4 Other Employment Complaint Case                                           1.. 2 .. 3 .
                   Other Employment (15)
                                                 0   A6109 Labor Commissooner Appeals                                                 10.


                                                 0   A6004 Breach of Rental/Lease Conlract (not unlawful detainer or wrongful
                                                                                                                                      2 .• 5.
                                                           eviction)
                Breach of Contracl/ warranty                                                                                          2 .• 5.
                             (06)                0   A6008 Contract/Warranty Breach -Seller Plaintiff {no fraud/negligence)
                       (not insurance)                                                                                                1 .• 2 ., 5.
                                                 0   A6019   Neg~gent   Breach of Contraei/Warranty (no fraud)
                                                                                                                                      1.. 2 .• 5.
                                                 0   A6028 Other Breach of Contraei/Warranty (not lraud or negligence)

     u                                           0   A6002 Collections Case-Seller Plaintiff                                          2., 5 ., 6 .
     ~
     c:                CollectionS (09)
     0                                           0   A6012 Other PromissOry Note/Coleclions Case                                      2 ., 5.
     u
                  Insurance Coverage {18)        0   A6015 Insurance Coverage (nor complex)                                           1 .• 2 •. 5., 8.


                                                 0   A6009 Contractual Fraud                                                          1.,2., 3 .. 5 .

                     Other Contract (37)         0   A6031 Tortious Interference                                                      1 .• 2 .• 3 .. 5.

                                                 0   A6027 Other Contract Dispute{not breachlinsurancelfTaud/negilgence)              1 .. 2 ., 3 ., 8.

                  Eminent Domain/Inverse                                                              Number of parcels_     _
                                                 0   A7300 Eminent Domain/Condemnation                                                2.
                    Condemnation (1<4)

                   'Nrongful Eviction (33)       0   A6023 Wtongful Eviction C ase                                                    2 .• 6 .


                                                 0   A6018 Mortgage Foredosure                                                        2 .. 6.

                  O ther Real Property (26)      0   A6032 Quiet Tltle                                                                2 .. 6.

                                                 0   A6060   Other Real Property (not eminent domain. landlord/tenant, foreclosure)   2 .• 6.

                Unlawful Detalner-Commerdal                                                                                           2 ., 6 .
                            (31)
                                                 0   A6021 Unlawful Detainer-Commercial {not drugs or wrongful eviction)

                Unlawful Detalner- ResldenUal                                                                                         2 ., 6
                                                 0   A6 020 Unlawful Detainer-ReSidential (not drugs or wrongful eviction)
                            (32)

                    Unlawful Detainer-                                                                                                2 ., 6 .
                   Post-Foreclosure (34 )
                                                 0   A6020F Unlawful Detainer-Post-Foredosure


                Unlawful Detalner-Orugs (38)     0   A6022 Unlawful Detainer-Drugs                                                    2 .. 6.




  LACN 109 (Rev. 03111)                         CIVIL CASE COVER SHEET ADDENDUM                                                   Local Rule 2.0
  LASe Approved 03-GC                              AND STATEMENT OF LOCATION                                                          Page 2 of4
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 8 of 44 Page ID #:28


  SHORT TITLE                                                                                           CASENUMI!ER
                PATTON v. DOLLAR TREE STORES, INC.


                                 A                                                              B                                              c
                    Civil Case Cover Sheet                                               Type of Action                         Applicable Reasons -
                          Category No                                                   (Check only one)                         See Step 3 Above

                      Asset Forfeiture (05)            0 A6108 Asset Forfeiture Case                                           2.6


                   Pebtion re Artlilt::Jtion ( 11 )    0   A8115 Petition to Compei/ConfirmNacale Arbitration                  2., 5.


                                                       0   A6151 Wit - Admlnlslratlve Mandamus                                 2 .. 8.
                      Wit of Mandate (02)              0   A8152 Wit - Mandamus on Limited Court Case Matter                   2.

                                                       0   A6153 'Mit - Other limited Court Case Relliew                       2.


                  Other Judicial Revlaw (39)           0   A6150 Other 'Mit /Judicial Relliew                                  2., 8.


       c:        AntitrusVTrade Regwtion (03)          0   A6003 AntltrusVTrade Regulation                                      1., 2 .. 8.
      .5!
      i
      :.e          Construction Defect (10)            0   A6007   Construction Defed                                           1., 2., 3.

       ..
      ...J


      -£
                  Claims lnvollllng Mass Tort
                             (-40)
                                                       0   A6006 Claims Involving Mass Tort                                     1., 2 .• 8.

      5
      u             5eQ.Irftles l.Jbgatlon (28)        0   A6035 5eQ.Irttles l.Jtigataon Case                                  1., 2., 8
      b
      ~                     Toxic Tort
      .2               Enlllronmental (30)
                                                       0   A6036 Toxic T0111Envtronmental                                      1., 2 .. 3., 8.
       "'
      ·~
      a..         Insurance Collefli9E! Claims
                                                       0   A6014 Insurance Coverage/Subrogallon (oomplex case only)            1., 2 . 5 .. 8.
                    from Complex Case (-41)

                                                       0   A6141 Sister state Judgment                                         2., 9.
                                                       0   A8160 Abs1rad of Judgment                                           2,6

                          Enfofoement                  0   A6107 Confession of Judgment (non-ilomestic retabons)               2 .. 9.
                        of Judgmont (20)               0   A61 40 Admrolstrallve Agency Award (not unpaid taxes)               2 .. 8
                                                       0   A6114 PetrtloniCertiflcate for Entry of Judgment on Unpaid Tax      2 .. 8.
                                                       0   A6112 Other Enforcement of Judgment Case                            2 .. 8 .• 9.

                            RIC0(27)                   0   A6033 Racketeertng (RICO) Case                                      1.. 2 .. 8.

                                                       0   A6030 Declaratory Relief Only                                       1.. 2 .. 8.

                       Other Complaints                0   AS0-40 Injunctive Re lief Only (not domestic/harassment)            2 .. 8.
                  (Not Specified Above) (-42)          0 A6011 Other Commerdal Complaint Case (non-tortlnon-oomptex)           1.. 2., 8.
                                                       0   A6000 Other Civil Complaint (non-tortlnDrKIOmplex)                  1.. 2 .. 8.

                   Partnership Corporation
                      Governance (21)
                                                       0   A6113 Partnership and Corporate Governance Case                     2., 8.


                                                       0 A6121 Civil Harassment                                                2 .. 3 .. 9.
                                                       0   A6123 \Norlq>laoe Harassment                                        2 .. 3 .. 9 .

                                                       0   A6124 Elder/Dependent Adult Abuse Case                              2 .. 3 .• 9.
                       Other Pelitlons
                    (Nol Spealled Above)               0   A6t90 Election Cortesi                                              2.
                            (-43)
                                                       0   A6110 Petition for Change of Name                                   2 . 1.
                                                       0   A8170 Petition for Relief from Late Claim law                       2.• 3 . .... 8.
                                                       0   A6100 Other Civil Petition                                          2 .• 9 .




  LACN 109 (Rev. 03111)                               CIVIL CASE COVER SHEET ADDENDUM                                       Local Rule 2 .0
  LASC Approved 03-().4                                  AND STATEMENT OF LOCATION                                            Page 3 of4




                                                                                                                      -------
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 9 of 44 Page ID #:29



  SHORT Tone                                                                                   CASE N\JioiBER
                    PATION v. DOLLAR TREE STORES, INC.



   Item Ill. Statement of Locat1on: Enter the address of the accident, party's residence or place of business. performance, or other
   circumstance indicated in Item II., Step 3 on Page 1, as the proper reason for filing in the court location you selected.



              Chod< mo oppro- booM,,. ... '"-~ o h -
                                                                        AOORESS

   f nder
     EASON'
          Column C for the type of action that you have selected for
                                                                        8790 Washington Blvd

         II cue.

              0 1. l1J2. 0 3 0 4. 0 5. 0 6. 0 7 0 8. 0 9. 0 10.
       CfTY                                     ST..TE     ZIP COOE

    Poco Rivera                                 CA         90660
   -          ·
   Item IV. Declaratlon of AsSignment I declare under penalty of perjury under the laws of the State of Cahfomoa Ihat the foregoing is true
   and correc1 and that the above-entrtled matter is proper1y filed for assignment to the Stanley Mosk                      courthouse in the
   _ee
    _n_tr_a_l-       - - - - Oostnct of the Super1or Court of Califomoa, County of Los Angeles [Code Cov Proc. , § 392 et seq., and Local
   Rule 2.0, subds (b), (c) and (d)]
                                                                                                                      ---:.;;.. -----
   Dated: Apnl 2, 2015
                                                                                    ' ~
                                                                          .._ __ _ _-::--rs;-=GNAT~ OF ATTOR NEY/FiliNG PARTY)




   PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
   COMMENCE YOUR NEW COURT CASE:
                  Original Complaint or Petition

          2. If filing a Complaint, a completed Summons form for issuance by the C lerk.
          3.      Civil C ase Cover Sheet, Judicial Council form CM-010.

          4       Civ1l Case Cover Sheet Addendum and Statement of Location form, LAC IV 109, l.ASC Approved 03-04 (Rev.
                  03/1 1).

          5.      Payment1n full of the filing fee, unless fees have been waived.

          6 . A s igned order appointing the Guardian ad Litem, Judicial Council form CIV-01 0, if the plaintiff or petitioner is a
              minor under 18 years of age will be required by Court in order to issue a summons.

          7       Additional copies of documents to be conformed by the Clerk. Cop1es of the cover sheet and this addendum
                  must be served along with the summons and complaint, or other initiating pleading in the case.




  LAC IV 109 (Rev. 03111)                    CIVIL CASE COVER SHEET ADDENDUM                                               Local Rule 2.0
  LASC Apprllve(l 03-04                         AND STATEMENT OF LOCATION                                                    Page 4 of 4
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 10 of 44 Page ID #:30




             Mike Arias (CSB # 115385)                                        <;oru·uHMED COPY
             Elise R. Sanguinetti (CSB # 191389)                                 ORIGINAL Al.£0
                                                                              Superior Court ol Calllomia
         2   ARIAS, SANGUINETTI,                                                County o f Los Angeles
             STAHLE & TORRJJOS, LLP
         3   555 12th Street, Suite 1230                                           APR 02 2015
             Oakland, CA 94607
         4   Telephone: (855) 481-1 020                                  Sherri A. Cartee, ExecutiVe Officef/Cierl<.
             Facs1mile: (5 10) 291-9742                                         By Myrna Beltran. Deputy
         5   m ike@asstlawyers.com
             el ise@asstlawyers.com
         6
             Attorneys for Class Plaintiff
         7

         8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
~
:j       9                                   COUNTY OF LOS ANGELES
VJ
0       10
'"';)


~
0
        II   CURTIS PATTON, an individual. on behalf
             of himself and all others simi larly situated;
                                                              Case No.               BC 57 7 4 9 8
E-4     12                                                    CLASS ACTION
~                          Plaintiff,
~       13                                                    COMPLAINT
~
                    vs.
~       14
             DOLLAR TREE STORES, TNC., a Virginia
                                                                  l. FAILURE TO PAY OVERTIME
                                                                     COMPENSATION (LAB. CODE
-
eli

~
        15

        16
             ~orpo~ation; and DOES I through 100,
             mclus1ve,
                                                                     §§ 510, 1194, 1198);
                                                                  2. F AlLURE TO PROVIDE MEAL
~                          Defendants.                               PERIODS I LAB. CODE§§ 226.7,
sC-'    17                                                           512, AND 8 CAL. CODE REGS. §
                                                                     11070(11)]

 ~
        18
                                                                  3. FAILURE TO PROViDE REST
        19                                                           PERIODS (LAB. CODE§ 226.7 AND

~
                                                                     8 CAL. CODE REGS.§ 11070(12))
        20
                                                                  4. F AlLURE TO PROVIDE
        21                                                           ACCURATE ITEMIZED WAGE
                                                                     STATEMENTS (LAB. CODE § 226);
        22
                                                                  5. FAILURE TO PROVIDE
        23                                                           PRINTED WAGE STATEMENTS
                                                                     (LAB. CODE § 226);
        24
                                                                  6. UNFAIR COMPETITION (Bus. &
        25                                                           PROF. CODE§§ 17200, ET SEQ.)
        26                                                    DEMAND FOR JURY TRIAL
        27
        28

                                                         Page I

                                                      COMPLAINT
   Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 11 of 44 Page ID #:31




                                               J URISDI CTION AN D V ENUE

          2            I.       Thi Court has jurisdiction over this action pursuant to Code of Civ. Proc. §

          3   410. 10. The action is brought pursuant to Code of Civ. Proc . § 382, Civi l Code § 178 1, et

          4   seq., the procedura l provision of Federa l Ru le of Civil Procedure Rule 23, and Bus. &

          5   Prof. Code§§ 17200, et seq. Plaintiff brings this action on beha lf of himse l f and a ll others

          6   s imilarly s ituated .

          7           2.        Venue ts proper tn thi    court pursuant to Code of Civ. Proc. §§ 395 and

          8   395.5. Defendants transact bus iness and ma y be found within Los Ange les County. The
c.
,....J
,....J    9   course of conduct, breaches, vio lations, and unlawful paucms and practices a ll eged herein
'J)
0        10   occurred in Los Angeles County.
~


~
0
         II                                              PLAI NTI FFS
r-o      12           3.        The Subclasses that Plaintiff seeks to represent (the "Subclasses") comprise
g'd
~        13   the fol lowing persons:
,....J

=
<
r-o
         14                     a.     Subclass I (Store Manager Subc lass) : All persons employed as a Store

...
(Jj
         15   Manager in one or more "'Dollar Tree·· branded stores in California at any time on or ajier
~        16   April 2, 201 1.
~

...0z    17                     b.     Subcla s 2 (Wage Statement Subclass): All persons employed in one
c.!)

~        18   or more ;,Dollar Tree" branded stores in California at any lime on or after April 2, 2011.
'J)
         19           4.        More than two thirds of the member of Subclass I are citizens of Cali fomia .


~        20

         21
                       5.

                       6.
                                More than two thirds of the members of Su bclass 2 are citizens of Ca lifornia .

                                At all relevant times herein mentioned, Plaintiff Curtis Patton :

         22                     a.     Wa s e mp loyed as a Store Manager in the "Dollar Tree" branded s tores

         23   loca ted in Garden Grove and Pico Ri ve ra, Ca lifornia ;

         24                     b.     Was c lass i lied by Defendants as an exempt employee;

         25                     c.     Was schedu led by Defendants to work more than eight (8) hours a

         26   day. fi ve (5) days as week, and/ or more tha n forty (40) hours a week;

         27                     d.     Worked more than eight (8) hours a day, five (5) days as week, and/or

         28   more than forty (40 ) hours a week without rece iving overtime compensation;


                                                              Page 2

                                                          COM PLA I NT
 Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 12 of 44 Page ID #:32




                             e.     Was no t prov ided w ith mea l brea ks or authorized and permiued to

         2   take rest breaks;

         3                   f.     Was no t provided with accurate itemized wage sta tements;

         4                   g.     Wa not prov ided w ith printed itemized wage statements; and

         5                   h.     Was a member of both Subc lasses identified in paragrap h 3, above.

         6                                       CLASS ALLEGATIONS
         7              7.   The persons who compri se the Subclasses a re so numerous that joinder with

~
         8   a ll such person is imprac ti cable and the disposition of his clai ms wi ll benefit the parties
...:I
...:I    9   and the Court. The c la ims of Plaintiff are typica l of the c laims of the Subclasse . Plaintiff
rJ)
0       10   w ill fairly and adeq uately pro tect the interests of the S ubc lasses. Plaintiff does not have
~


~
0
        II   any interests tha t are antago nistic to the Subclas es. Cou n e l for Plaintiff are experienced,
E-o     12   q ua lified, and generall y able to conduct compl ex class act ion litigation.
~
~       13              8.   This Court    hou ld permit this action to be maintai ned as a class ac ti on
...:I
~
E-o
        14   pursuant to Code ofCiv. Proc. § 382 for the fo ll owing reasons:
r.t}
~       15                   a.     The questions of law and fact common to the Subclasses p redominate
~
~       16   over any question a ffec ting o nl y indi v idual membe rs;
z
~

~       17                   b.     A class ac tion is s uperior to any other available method for the fair
c;!)

~
rJ)
        18   and efficient adjudication of the c laims of the members of the Subc lasses;

        19                   c.     The me mbers of th e Subc lasses are so numerous that it i impractical


~       20
        21
             to bring a ll members o f the Subclasses befo re the Court;

                             d.     Plaintiff and the other members of the Subclasses wi ll not be able to

        22   obta in effective and econom ic lega l redress unl ess the act ion is mai ntai ned as a class

        23   act ion;

        24                   e.     There is a community or interest in obtaining appropriate legal and

        15   eq uitab le rel1ef for the common law and statuto ry vio la ti ons and o ther improprieties a lleged

        26   herein , as well as in obtai ning adeq uate compc n ation for the damages and injuries for

        27   which Defendants are respo ns ible in an amount suffic ient to adeq uately compensate the

        28   members of the Subc lasses for the injuries usta ined;


                                                            Page 3

                                                        COMPLAINT
 Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 13 of 44 Page ID #:33




                             f.      Without c lass ccrti fication , the prosec uti on of separa te ac tion      by

          2   individual me mbers of the Subclasses wou ld c rea te a substan ti a l risk o f the following:

          3                          1.      Inconsistent or vary in g adjudications wi th respect to indi vidua l

          4   members of the S ubc las es that would establi h incompatible s tandards of conduct for

          5   Defendants, and/or

          6                          11.     Adjudicat io ns with respect to the individual members that

          7   wou ld, as a practica l matter, be di spos iti ve of the interests of other members not pa rti es to

          8   the adj udications, or wo uld substantia ll y impai r o r impede the ir ability to protect their
~
.,._;j
.,._;j    9   interests, inc luding but no t limited to the potentia l for exhausting the funds avai la bl e fro m
~
0        10   those parties w ho are, o r ma y be, responsible Defendants; a nd
~


~
0
         II                  g.      Defenda nts have acted, or refused to act, o n grounds that are genera ll y
E-<      12   a pplicab le to the Subc lasses, the re by making final injunctive re lief a ppropri ate w ith respect
~
~             to the Subclasses as a who le .
.,._;j   13

~
E-<
         14                                            DEFENDANTS
rJ';
I-'      15           9.     Plaintiff is informed and be lieves, and based on that information and belief
~        16   a lleges, that Defendant Dollar Tree Stores, lnc., (''Dollar Tree") is, and at a ll re levan t times
~
z
""'i
::::>    17   herein mentioned:
~

~
rJ:J
         18                  a.      W as a duly organ i.Led Virgin ia corporatio n;

         19                  b.      Was dul y qualifi ed to conduct business, and was conducting bus iness,


~        20

         21
              in the State of California, inc lud ing the Co unty of Los Angeles; and

                             c.      !lad its principa l pl ace of bus iness in Cali fornia.

         22           i 0.   The true names and capac iti es, whether indi vidua l, corpora te, partnership,

         23   associate, or othe rw ise, of De fe ndants D oes I through I 00, inclusive ("Doe Defendants"),

         24   are unknown to Plaintiff who therefore s ues these Doe Defendants by such fictitious names

         25   pursuant to Code of Civ. Proc. § 474 . Pl a intiff wi ll seck leave to amend this comp lain t to

         26   a ll ege their true names and capac ities when they are ascerta ined .

         27   Ill

         28   Ill


                                                              Page 4

                                                         COMPLAI T
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 14 of 44 Page ID #:34
                                                                        ..


                    II .        Plaintiff is informed and believes, and based on that information and belief

         2   a ll eges, that each of the Defendants named in this complaint, including each of the Doe

         3   Defendants, is respons ible in some manner for one or more of the events and happenings,

         4   and proximately caused the injurie and damage , hereinafter al leged.

         5          12.         Plaintiff is informed and believes, a nd based on that information and belief

         6   alleges, that each of the Defendants named in this complaint, including each of the Doe

         7   Defendants, is, and at all relevant times herein mentioned was, the agent, servant, and/or

         8   emp loyee of each of the other Defendants, and that each Defendant was acting with in the
~
...J
...J     9   course and cope of hi s, her, or it authority as the agent, servant, and/or employee of each
rJ)
0loo)   10   of the other Defendants. Consequently, each Defendant i jointly and severally liable to

~
0
        II   Plaintiff and the other members of the Subclasses for the damages sustain ed as a proximate
E-<     12   result of their conduct.
~
~       13                                      BACKGROUND ALLEGATIONS
...J

~
r:J'J
        14           13 .       Defendants are a retail chain that sell s discount consumer goods to the public

~       15   and owns and operates approximately 435 retail stores in Ca lifornia.
~       16          14.         During the c lass period, Plain tiff and the other members of Subc lass I were
~
z
s
C!)
        17   employed by Defendants as Store Managers in these retail stores.

~
rJ)
        18          15.         During the class Period, Defendants treated Plaintiff and the other members

        19   of Subc lass 1 as exempt under Ca lifornia law but required them to perform an extensive
~
~       20   array of non- managerial duties.            Such duties (hereinafter referred to as the "Non-

        21   Managerial Duties") were not intellectual , manageria l, or creative and did not require the

        22   exercise of discretion or independent judg ment            they included running the cash registers,

        23   unloading trucks, stocking inventory onto shelves, transferring merchandise between s tores,

        24   performing price changes, c lean ing the stores, and performing countless other duties that

        25   were not       in~ellectual ,   managerial , or creative and that did not require the exercise of

        26   discretion or independent judg ment.

        27          16.         ln addition to, and as a part of. requiring and expecting Plaintiff and the other

        28   members of Subclass I to perform the Non-Managerial Duties , Defendants subjected them


                                                               Page 5

                                                            COMPLAINT
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 15 of 44 Page ID #:35




             to an ex tre me ly demanding wo rk wo rkload, ex pecting and scheduling them to work in

         2   excess of e ig ht ho urs a day, so metimes s ix to seven days a week, a ll th e w hile fa iling to

         3   a ll oca te suffic ient la bo r ho urs to run the sto res wi tho ut Pla inti ff and the o ther membe rs of

         4   S ubc lass I hav ing to s pend the majo ri ty o f the ir time e ngaged in the No n- Manage ri a l

         5   Duties.

         6             17.   As a re ult of be ing mi sclass ifi ed as exempt, and subjected to a n extre me ly

         7   de ma nd ing workload w ithout s u ffi c ie nt hourly labor to as is t the m, Pla int iff and the o ther

         8   members o f Subc lass I were unabl e to ava il the mselves of the ir statuto ril y ma nda ted mea l
~
....J
..J      9   brea ks and were prevented from do ing s o in that, a t no time during the workday, le t a lone
rJ'J
0       10   before the end o f the ir fifth hour o f work, we re th ey reli eved o f a ll duty and pe rmitte d to
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0
        II   leave the pre mises to pro pe rl y ta ke a n uninterrupted mea l break o n the ir own time.
E-      12             18.   As a result of being misclassified as exempt, and subjected to an extre me ly
~
~       13   demanding wo rkload w ithout suffic ie nt hourl y labo r to assis t the m, Pl ain ti ff and the o th er
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rJ'J
        14   me mbe rs of Subclass I were una ble to ava il the msel ves of the ir statuto rily ma nda te d mea l

~       15   breaks and were prevented from do ing so in that, at no time during the workday, le t a lo ne
~
~       16   o nce every fo ur ho urs o r maj o r frac tio n thereo f. we re they re li eved of a ll duty a nd
z
~
~       17   autho rized and permitted to pro perly take a rest break.
~

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rJ'J
        18             19.   Du ring the class period. Pla intiff and the other membe rs of Subc lass 2 were

        19   e mployed by De fendant as e mployees in Defendants' reta il sto res in Ca lifo rni a. However,


~       20

        21
             De fe ndants had a po licy and prac ti ce o f no t providing its e mployees in Ca lifornia w ith

             itemized wage statements in printed form o r th e optio n of receiving wage state ments in

        22   printed fo rm upo n request. A s a result , Pl a inti ff a nd the other membe rs o f Subc lass 2 were

        23   de nied itemized wage stateme nts in printed fo rm in accorda nce wi th Ca lifo rnia law.

        24   Ill

        25   Ill
        26   Ill

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                                                              Page 6

                                                          COMPLAINT
 Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 16 of 44 Page ID #:36
                                                                     ..

                                               FIRST CAUSE OF ACTION

          2                    FOR FAILURE TO PAY OVERTIM E COMPEN AT ION

          3                                   !Labor Code§§ 510, 1194, 11981
          4                        (By Plaintiff and   ubclass I Against all Defendants)

          5            20.    Plaintiff reallege and incorporates by reference, a though fully et forth

          6     herein, paragraphs I through 19, inclusive, of thi s Complaint.
          7            21.    Labor Code §§ 510 and I I 98 provide that employee in Ca li fornia shal l not

Q.,
            8   be emp loyed more than eight hours in any work day, and/ or more than 40 hour in any
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~         9     workweek, unles     they receive additional compensation beyond their regular wages in
en
0       10      amounts specified by la w.
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        II             22.    Labor Code § I 194 provide        that an employee who has not been paid
E-o     12      overtime compensation as required by §§ 5 10 and I 198 may recover the unpaid balance of
<td
~       13      the full amount of such overt ime compensation, together with costs of suit, as well as
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:t:
<       I~      liquidated damages in an amount equa l to the overtime compen ation unlawfully witW1eld,
E-o
00
~       15      and interest thereon, in a civil action. The action may be maintained directly against the
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~       16      employer in hi /her name without first filin g a claim with the California Department of
z
.....
~       17      Industrial Relations, Division of Labor tandards Enforcement.
C!)

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00
        18             23.    At al l times relevant hereto, Plaintiff and the other members of Subclass

00      19      worked more than eight hours in any given workday and/or more than 40 hour in any

~       20

        21
                given workweek as employees of De fendant .
                       24.    At no time relevant hereto wa Plaintiff, or any other member of Subclas I,
        22      exempt from any wage and hour provision under Ca lifornia law, including withou t

        23      limitation any tatute, rule, or regu lati on governing the payment of overtime compensation.
        24             25.    At all times releva nt hereto, Defendants mi sclassified Plaintiff and the other
        ..,-
        _)      members of Subcla s I as exempt from overtime compensation and failed to pay to them
        26      overtime compen ation for the hour they worked in exce            of eight hours in a workday
        27      and or 40 hour in a workweek. in vio lation of Labor Code §§ 200, 202, 203, 226, 500,
        2       5 I0, 558, I 194, and 1198.


                                                            Page 7

                                                        COI\IPL I T
 Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 17 of 44 Page ID #:37




                    26.        As a direct and proxi ma te result o f Defendants' unlawful fai lure to pay

        2   add itiona l compensatio n to Pl a inti ff a nd the other membe rs of Subclass I for thei r overt ime

        3   hours, Plain tiff and the other members of Subclass I ha ve suffered, and wi ll conti nue to

        4   suffer, damages in amou nts w hich are presentl y un known to Pla intiff but which exceed the

        5   ju risdic tio nal limits of thi s Co urt and w hi ch will be ascerta ined accord ing to proof at tria l.

        6                                      SECOND CAUSE OF ACTION
        7                            FOR FAILURE TO PROVIDE MEAL PERIODS
        8                 !CAL. LAB. CODE§§          226.7 , 512 and 8 CAL. CODE REGS.§ 11070(11)1
~
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~       9                          (By Plaintiff and      ubclass I Against All Defendant ')
'J)
0      10           27.        Pla intiff reallege    and incorp orates by refe rence, as tho ug h fully set fo rth
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       II   herein, paragraphs I thro ugh 26, inc lu s ive, of thi s Compl ai nt.
E-<    12           28.        CAL. LAB. CODE§ 226.7 provide as foll o ws:
~
~      13                      a.     No employe r s hall require any employee to wo rk during
~
                               any mea l. . . period mandated by a n applicable o rder of th e
~
rJ')
       14                      lndu tria l Welfare Commiss io n.

~      15                                                      ***
~      16
                               b.     If a n emp loyer fails to provide an employee a mea l
                               period... in accordance with a n appli ca ble order of the
~
z
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                               Industrial Welfa re Commiss ion, the employer shall pay the
0      17                      e mployee one additio na l hour o f pay at the empl oyee's regula r
C!>                            rate of compensation for each work day that the mea l or rest
~
rJ')
       18                      period is not prov ided.

rJ')   19           29.        In add ition, CAL. LAIJ . Cool:. § 5 12 prov ides that no emp loyer sha ll e mploy

~      20   a ny per on for a work period of more than five (5) hours w itho ut a mea l period of not less
<
       21   than 30 minutes.

       22           30.        Industria l Wage Order No.7, which is codified under 8 CAL. CODE REGS.§ 11070,

       23   et. seq., also requires that for every work-shi ft longer than 5 hours, an employer is to provide its
       24   employees an unintem1pted meal break of no less than 30 minutes. 8                CAL. CODE R EGS.         §

       25   11 070( II )(A). For every work-shift longer than I0 hours, an employer is required to provide

       26   employees a second uninterrupted meal break of no less than 30 minutes. 8 CAL. CODE REGS. §

       27   II 070( II )(8).    Wage Order No. 7 also states that an employer must relieve the employee of all

       28   work related duties during meal breaks; otherwise, the employee wi ll be considered to be "on duty"


                                                                Page 8

                                                            COMPLAINT
 Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 18 of 44 Page ID #:38




             which constitutes compensable time. 8 CAL. CODE REGS. § I I070( I I)(C).
        2           3 1.    At all times relevant hereto, Pla inti ff and the other members of Subclass

         3   have worked more than fi ve hours in a workday; however, at all times re levant hereto,
        4    Defendants have fa il ed to provide mea l periods as required by CAL. LAB. CODE §§ 226.7,

         5   5 12 and 8 CAL. CODE REGS. § I I070( I I).

         6          32.     By vi rtue of requiring Pla inti ff and other members of Subc lass I to work
         7   through meal periods free fro m work duti es, De fendants have intentionally and impro perly

         8   denied mea l periods to Pla inti ff and the other members of the Subclasses in violation of
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io.:l
io.:l    9   CAL. LAB. CODE§§ 226.7, 5 12 and 8 CAL. CODE REGS. § 11 070( 11). Plaint iff and the other
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"':)    10   members of Subc lass I have suffered, and will conti nue to suffer, damages in amoun ts

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        II   which are presently unknown to them bur whi ch exceed the jurisdicti onal li mits of this
r-o     12   Court and which will be ascerta ined according to proo f at trial.
~
~       13                                   T HIRD CA USE O F ACTION
io.:l

~r-o    14                         FOR FA IL URE T O PR OVIDE R EST PERI O DS

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r:J:J


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        15
        16
                             ! CAL. LA B. CODE§    226.7; 8 CAL. CODE R EG S. § 11070(12) 1
                                (B y Pl aintiff a nd S ubclass I Again st All De fend an ts)

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        17          33.     Plaintiff rea ll eges and incorporates by reference, as though fully set forth

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r:J:J
        18   herein, paragraphs I through 32, inclus ive, of thi s Compl aint.

        19          )4.     CAL. LAB. CODE § 226.7 provides as fo llows in perti nent part:

~       20
        21
                            a.       No employer shall require any employee to work during
                            any ... rest peri od mandated by an applicable order of the
                            Ind ustrial Welfare Commission.

        22                                                    ***
                            b.      If an emp loyer fa ils to prov ide an employee a ... rest
        23                  period in accordance with an applicable order of the Industria l
                            Welfare Comm ission, the employer shall pay the employee one
        24                  add itiona l hour o f pay at the empl oyee's regular rate of
                            co mpensati on for each work day that the mea l or rest period is
        25                  not provided.
        26          35.     Industrial Wage Order No.7, which is codified under 8 CAL. CODE REGS.§ 11 070,
        27   et. seq., requires employers ro provide rest breaks which shall be counted as hours worked for which

        28   there shall be no deduction of wages. 8 CAL. CODE REGS.§ 11070(12)(A).


                                                             Page 9

                                                          COM PLA I NT
  Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 19 of 44 Page ID #:39




                     36.     Subdivision 12(A) of 8 CAL. CODE REGS. § I I 070 also requires that an

         2   employer provide its employees with a I 0-minute rest break for every four-hour increment,

         3   or major fraction thereof, of time worked. "Employees are entilled to 10 minutes rest for shifts

         4   from three and one-half to six hours in length, 20 minutes for shi fls of more than ix hours up to I 0

         5   hours, 30 minutes for shirts of more than I 0 hours up to 14 hours, and so on." Brinker Restaurant

         6   Co1p. v. Superior Court (20 12) 53 Cal. 4th I 004, I 029.

         7           37.     CAL. LAB. CODE § 226.7 and 8 CAL. CODE REGS. § II 070, Subdiv. l2(B),

         8   further require that for every workday in which it fai ls to provide a rest period during any
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~        9   four-hour increment, or major fraction thereof, the employer must reimburse the employee
C/')
0       10   at a rate of an hour's pay at the employee's regular rate of pay.
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        II           38.     Plaintiff and the other members of Subclass I, regularly worked four-hour
E-o     12   increments and were prevented from taking statutoril y mandated rest breaks during their
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~       13   sh ifts. They were unable to avail themselves of s uch breaks for va riou s reasons, including
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E-o
        14   but not limited to, the pressures from their workloads.
C/')
        15           39.     By virtue of Defendants' unlawful failure to authorize, permit, and provide
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~       16   rest periods as required by law, Plaintiff and the other members of Subclass I have
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0"""'   17   suffered, and will continue to s uffer, damages in amounts which are presently unknown to
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C/')
        18   them but which exceed the j urisdictional limits of this Court and which will be ascertained

        19   according to proof at trial.

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        20                                   FOURTH CAUSE OF ACTION

        21      FOR FAILURE TO PROVIDE ACCURATE ITEMIZED WAGE TATEMENTS
        22                                           ILahor Code§ 226]

        23                       (By Plaintiff and S ubclass I Against all Defendants)

        24          40.      Plaintiff realleges and incorporates by reference, a        though fully set forth

        25   he rein , parag raph s I th rough 39, inclus ive, of this Complaint.

        26          41.     Labor Code § 226 provides that an e mployer sha ll provide its employees

        27   with accurate wage statements including the wages earned and the ho urs worked:

        28                  (a) Every emp loyer sha ll , semimonth ly or at the time of each
                            payment of wages, furnish each of hi s or her employees, either

                                                             Page 10

                                                         COMPLAINT
 Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 20 of 44 Page ID #:40




                             as a de tacha ble pa rt of the c heck, d ra ft, o r vo ucher paying the
                             e mployee' wage , or separa te ly w he n wages a re pa id by
        2                    pe rsona l c heck o r cas h, an acc ura te itemiz ed sta te me nt in
                             writing s howing ( I) g ross wages earn ed, (2) to ta l hours worked
        3                    by the e mployee[.)

        4           42 .     By ca us ing Pla intiff a nd the o the r membe rs of S ubc lass I to wo rk w itho ut

        5   compe nsa tio n, De fe nda nts have v iolated the require me nt tha t the to ta l ho urs wo rked a nd a ll

        6   wages earned be inc luded in the wage sta te me nt that mus t be provided to Pla in tiff and the

        7   o ther membe rs of S u bc lass I.

        8           43.      By virtue o f De fenda nts ' know ing, w illful , a nd unl aw ful fa ilure to prov ide
Q.,
..J
..J     9   acc urate wage state ments w ith in the a ppl icable s tat u te o f limi tatio ns, Pia int i ff a nd the o ther
C/)
0      10   members of Subc lass I have suffered, a nd w ill continu e to suffer, da mages in a mo unts
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       II   whic h w ill be ascerta ined acco rdin g to proo f at tri a l.
E-c    12                                         FIFTH CAU E OF ACTION
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~      13                  FOR FAfLURE TO PROVIDE PRINTED WAGE STATEMENTS
..J
:I:
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E-c
       14                                                !Labor Code§ 2261
C/)
       15                           (By Plaintiff and Subclass 2 Against all Defendants)
"'"'
~      16           44.      Pla intiff rea lleges and incorpora tes by refe re nce, as tho ug h fully set forth
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"'"'
:::>   17   herei n. paragra phs I thro ug h 43, inc lus ive , o f thi s Compla in t.
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C/)
       18           45 .     Labor Code § 226 prov ides tha t a n e mpl oyer sha ll provide its empl oyees

       19   w ith acc ura te wage s tate ments inc luding the wages ea rned and the hours wo rked.                      In


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       21
            provid ing such wage statements to its e mpl oyees, the e mployer sha ll g ive the employees

            the option of receivi ng such tatcments in printed fo rm upon request.

       22           46.      By fa iling to prov id e Pl a intiff and the o the r membe rs o f S ubc lass 2 w ith

       23   ite mized wage state ments in prin ted fo rm , inc ludin g the o pti on of receiving s uc h wage

       24   s ta temen ts in printed form upon req ues t, De fe ndan ts have v io lated Labor Code § 226.

       25           47.      B y virtu e of Defendants' knowing, willful , a nd unla wful fa ilure to provide

       26   printed wage statemen ts wi thi n the a pplicabl e statute of limi ta ti o ns, Plai ntiff and the o ther

       27   members of S ubc la ss 2 have suffered, a nd will continue to suffe r, da mages in amo u nts

       28   which wi ll be ascerta ined acco rding to proo f a t tria l.


                                                               Page II

                                                           COMPLAINT
 Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 21 of 44 Page ID #:41




                                             SIXTH CAUSE OF ACTION
        2                                   FOR UNFA IR COMPET ITION
        3                          !Business & Professions Code §§ 17200, et seq. I
        4                  (By Plaintiff and S ubclasses 1 and 2 Agai nst all Defendants)

        5           48.    Pla intiff rea ll eges and incorporates by reference, as though fu ll y set forth

        6   herein, paragraphs I through 47, inclus ive, of thi s Complaint.

        7           49.    Defendants    fal l with in the definition of "person" under Business &

        8   Professions Code § 1702 1.
~
~
~       9           50.    By and through the conduct described he rein, Defendants engaged in unfair,
r:r;
0      10   unlawful, and fra udulent practices, in vio la tion of Business & Professions Code §§ 17200,
~


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0
       II   el seq., and thereby deprived Pla intiff and the other member           of the Subc lasses of
E-     12   fundamenta l rights and privi leges g uaranteed to all Californ ia emp loyees under the Labor
~
~      13   Code.
~

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~
       14           5 1.   By and through their unfair, unlawful , and fraudulent business practices
r:r;
~      15   described herein, Defendants obtained va luable property, money, and services from
~      16   Plaintiff and the other member of the Subc la ses and thereby deprived them of va luable
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jooO

~      17   rights and benefits g uaran teed by law, a ll to their detriment.
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rl)
       18           52.    A ll of the acts described he rein as v io la ti ons of, among other things, the

       19   Labor Code and Industrial We(fare Commission Wage Orders, are unlawful and in

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       21
            vio lation of public policy. Sa id acts arc in addition immoral , uneth ical, oppressive, and

            unscrupulous, constituting unfa ir, unlawful, and fraudulent business practices in violation

       22   of Business & Professions Code§§ 17200 , et seq.

       23           53.    Plaintiff and the other members of the Subclasse are entitled to, and do seek,

       24   s uch ref icf as may be necessary to restore to them the money and property that Defendants

       25   have unfairly, unl awfull y, a nd fraudu le ntl y acqui red from them by means of the above-

       26   described business practices.

       27           54.    Pl a inti ff and the other members of the Subclasses are further entitled to, and

       28   do, cek a declaration that the above-de c ribcd business practices are unfair, unlawful, and


                                                          Page 12

                                                       COMPLAINT
  Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 22 of 44 Page ID #:42




            fraudulent and th at injuncti ve relief should issue restraining Defendants from engaging in
        2   any of the above-described unfair, unlawful, or fraudu lent busi ness practices in the future.

        3          55.     Plaintiff and the other members of the Subclasses have no plain, speedy, or
       4    otherwise adequate remedy at law to redress the injuries whi ch they have suffe red as a
        5   consequence of the unfair, unlawful , and fraud ulent business practi ces of Defendants. As a

        6   resu lt of the unfair, unlaw ful , and fraudu lent bus iness practices described herei n, Pl a in tiff

        7   and the other members of the Subc lasses ha ve suffered and wi ll cont inue to suffer

        8   irreparable harm unle       Defen dants are restrained from continuing to engage in these
~
~
~       9   unfair, unlawful, and fra udulen t bu!>ines practices.         Jn addition, Defendants shou ld be
r.rJ
0      10   required to pay resti tution of the unpaid wages to Plainti ff and the other member of the
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0
       II   Subclasses.
E-o    12                                                PRAYER
lid
~      13           WHEREFORE , Plaintiff prays for judgment as fo llows:
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<      14           I.     On the First Cause of Action:

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E-o
rJ)
       15                  a.      For unpaid wages;
~

-
~      16                  b.      For all appli cable penalties; and
z
:::>   17                  c.      For injuncti ve relief.
~

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r.rJ
       18          2.      On the Second Cause of Action:

r.rJ   19                  a.      For unpa id wages;

~      20
       21
                           b.
                           c.
                                   For a ll applicab le penalties; and
                                   For injuncti ve relief.

       22           3.     On the Third Cause of Action:

       23                  a.      For unpaid wages;
       24                  b.      For a ll app licab le pena lties; and
       25                  c.      For injuncti ve rei ief.
       26          4.      On the Fourth Cause of Action:

       27                  a.      For damages;
       28                  b.      For all applicab le penalti es; and

                                                              Page 13

                                                        COMPLAINT
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 23 of 44 Page ID #:43




                         c.       For injunctive relief.

       2          5.     On the Fifth Cause of Action:

        3                a.       For damages;

        4                b.       For all applicable penalties; and

        5                c.       For injunctive relief.

        6         6.     On the Sixth Cause of Action:
        7                a.       For restitution; and

        8                b.       For injunctive relief.

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rJ)
        9         7.     On All Causes of Action:
0      10                a.       For prejudgment interest;
""'
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       II                b.       For reasonable attorney's fees, costs, and expenses; and
~      12                c.       For such other and further relief as this Court deems just and proper.
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       15
            Dated: April2, 2015


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rJ'J
       18                                                   Attomevs for Class Plaintiff
       19

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                                                     COMPLAINT
   Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 24 of 44 Page ID #:44




                                            DEMAND FOR JURY TRIAL

           2         Plaintiff hereby demands a trial by jury on all claims so triable.

           3

                                                          A~S~
           4   Dated: April2, 2015
                                                          STAHLE & TORRIJ
           5
           6                                          ~:..........-
                                                        MIKE ARIAS
           7                                            ELJSE R. SANGUJNEITI
           8                                               Attomevs for Class Plaintiff
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  Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 25 of 44 Page ID #:45




              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   04/22/15                                                                            DEPT. 311

HONORABLE   JOHN SHEPARD WILEY JR                JUDGE      M. CERVANTES                  DEPUTY CLERK

HONORABLE                             JUDGE PRO TEM                                  ELECTRONIC RECORDING MONITOR
ADD ON
            C. JONES, C.A.                 Dcp.uy Sheriff   NONE                                 Reponer

             BC577498                                       Plaintiff
                                                            Counsel
             CURTIS PATTON
                                                            Defendant
                               vs                           Counsel
             DOLLAR TREE STORES INC
                                                                         NO APPEARANCES


             NATURE OF PROCEEDINGS:

             COURT ORDER REGARDING NEWLY FILED CLASS ACTION

            By this order, the Court determines this case to
            be Complex according to Rule 3.400 of the California
            Rules of Court. The Clerk's Office has randomly
            assigned this case to this department for all
            purposes.

            By this order , the Court stays the case, except
            for service of the Summons and Complaint. The stay
            continues at least until the Initial Status
            Conference. Initial Status Conference is set for
            August 4, 2015, at 10 : 00 a.m. in Department 311.
            At least 10 days prior to the Initial Status
            Conference, counsel for all parties must discuss
            the issues set forth in the Initial Status Conference
            Order issued this date. The Initial Status Conference
            Order is t o help the Court and the parties manage this
            complex case by developing an orderly schedule for
            briefing, discovery, and court hearings. The parties
            are informally encouraged to exchange documents and
            information as may be useful for case evaluation.

            Responsive pleadings shall not be filed until further
            Order of the Court. Parties must file a Notice of
            Appearance in lieu of an Answer or other responsive
            pleading . The filing of a Notice of Appearance shall
            not constitute a waiver of any substantive or
            procedural challenge to the Complaint. Nothing in this
            order stays the time for filing an Affidavit of


                                                                                          MINUTES ENTERED
                                    Page        1 of          3         DEPT. 311         04/22/15
                                                                                          COUNTY CLERK
  Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 26 of 44 Page ID #:46



              SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   04/22/15                                                                            DEYf. 311

HONORABLE   JOHN SHEPARD WILEY JR                JUDGE      M. CERVANTES                  DEPUTY CLERK

HONORABLE                            JUDGE PRO TEM                                   ELECTRONIC RECORDING MONITOR
ADD ON
            C. JONES, C.A.                Deputy Sbe.riff   NONE                                 Reponer

             BCS77498                                       Plalntiff
                                                            Counsel
             CURTIS PATTON
                                                            Defendant
                              vs                            Counsel
            DOLLAR TREE STORES INC
                                                                         NO APPEARANCES


            NATURE OF PROCEEDINGS:

             Prejudice pursuant to Code of Civil Procedure Section
             170.6 .

             Counsel are directed to access the following link for
             information on procedures i n t h e Complex Litigation
             Program courtrooms:

             https://www.lacourt.org/division/civil/CI0037.aspx

            According to Government Code Section 70616
            subdivisions (a) and (b), each party shall pay a fee
            of $1,000.00 to the Los Angeles Superior Court within
            10 calendar days from this date.

            The plaintiff must serve a copy of this minute order
            and the attached Initial Status Conference Order
            on all parties forthwith and file a Proof of Service
            in this department within seven days of service.

                        CLERK'S CERTIFICATE OF MAILING

            I, the below - named Executive Officer/Clerk of the
            above-entitled court, do hereby certify that I am
            not a party to the cause herein, a nd that on this
            date I served the Minute Order and Initial Status
            Conference Order
            upon each party or counsel named below by placing
            the document for collection and mailing so as to
            cause it to be deposited in the United States mail
            at the courthouse in Los Angel es,
            California, one copy of the original filed/entered


                                                                                          MINUTES ENTERED
                                   Page        2 of          3          DEPT. 311         04/22/15
                                                                                          COUNTY CLERK
   Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 27 of 44 Page ID #:47



               SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES

DATE:   04/22/15                                                                               DEPT. 311
HONORABLE    JOHN SHEPARD WILEY JR                  JUDGE      M.     CERVANTES              DEPUTY CLERK

HONORABLE                                JUDGE PROTEM                                   ELECTRONIC RECORDING MONITOR
ADD     ON
             C. JONES, C.A.                   Deputy Sheriff   NONE                                 Reporter

              BC577498                                         Plaintiff
                                                               Counsel
              CURTIS PATTON
                                                               Defendant
                                  vs                           Counsel
              DOLLAR TREE STORES INC
                                                                            NO APPEARANCES

              NATURE OF   PROCEEDINGS:
              herein in a separate sealed envelope to each address
              as shown below with the postage thereon fully prepaid,
              in accordance with standard court practices .
             Dated:      April 22 , 2015
              Sherri R. Carter, Executive Officer/Clerk

              By:
                         M. Cervantes, Deputy Clerk


             Mike Arias
             ARIAS, SANGUINETTI,
             STAHLE & TORRIJOS, LLP
             555 12th Street, Suite 1230
             Oakland, CA 94607




                                                                                             MINUTES ENTERED
                                       Page        3 of          3         DEPT. 311         04/22/15
                                                                                             COUNTY CLERK
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 28 of 44 Page ID #:48
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  4                                                                        APR 22 2015
                                                                Sham R. Carter ex~~uti·va 0 •11
  5                                                                           • "'"         • ~:art(;"lurk
                                                                   By: Martha Cer1antes, Deputy

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  8

  9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

 10                                FOR THE COUNTY OF LOS ANGELES
 11

 12
                                                      ) Case No.: BC577498
                                                      )
 13
        CURTIS PATTON                                 ) INITIAL STATUS CONFERENCE
 14                                                   ~ ORDER (COMPLEX LITIGATION
                          Plaintiffs,                 )PROGRAM)
 15
                             VS.
                                                      ~ Case assigned for ail purposes to
 16                                                   ) HON. JOHN SHEPPARD Wll..EY
                                                      ~ Department 311
 17     DOLLAR TREE STORES, INC.
                                                      )
 18                                                   )
                         Defendant.
                                                      )
 19
                                                      )
 20                                                   )

 21

 22
               This case has been assigned for all purposes to Judge John Sheppard Wiley in the
 23
        Complex Litigation Program. An Initial Status Conference is set for 8/4/15 at 10:00 am in
 24
        Department 311, located at the Central Civil West Courthouse at 600 South Commonwealth
 25

 26     Avenue, Los Angeles, California 90005. Counsel for all parties are ordered to attend.

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Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 29 of 44 Page ID #:49




     •
 1   '•         Prior to the Initial Status Conference, Counsel for all parties are ordered to meet and
 2
     confer in person (no later than 15 days before the Conference) and discuss the following areas .
     •
 3
     Additionally, counsel must be prepared to discuss these issues with the Court at the Initial Status
 4
     '
     Conference.
 5

 6              1.    Consideration of any issues of recusal or disqualification;

 7              2.    Issues of law and/or potentially dispositive or significant threshold issues that, if
 8
                      considered by the Court, may simplify or further resolution of the case;
 9
                3.    Appropriate alternative dispute resolution (ADR) mechanisms (e.g., mediation,
10

11                    mandatory settlement conference, arbitration, mini-trial, etc.);

12              4.    A plan for preservation of evidence and uniform system for identification of
13
                      documents throughout the course of this litigation;
14
                5.    A plan for document disclosure/production and additional discovery; which will
15
                      generally be conducted under court supervision and by court order,
16

17              6.    Whether it is advisable to address discovery in phases so that information needed to

18                    conduct meaningful ADR is obtained early in the case;
19
                7.    Any issues involving the protection of evidence and confidentiality;
20
                8.    The selection of the required electronic service provider; 1
21

22              9.    The handling of any potential publicity issues.

23

24

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          1
              Case Anywhere (www.caseanywhere.com), or
27
              File & Serve Express (www.lexisnexis.com/fileandserve).
28



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Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 30 of 44 Page ID #:50




  1          Counsel for the Plaintiff is to take the lead in preparing a Joint Initial Status Conference
  2
      Report to be filed five court days prior to the bearing date. The Joint Status Conference Report
  3
      must include the following:
  4

  5

  6          1. A statement as to whether additional parties are likely to be added and a proposed
  7              date by which all parties must be served;
  8
             2. Service list (service list should identify all primary and secondary counsel, firm
  9
                 names, addresses, telephone numbers, email addresses and fax numbers for all
 10

 11              counsel). The Court will issue an Order requiring electronic service. Counsel are to

 12              advise the Court regarding their preferred web-based electronic service provider at
 13
                 the time of the conference (Case Anywhere, LexisNexis, or Case Homepage);
 14
             3. Whether any issues of jurisdiction or venue exist that might affect this court's ability
 15
                 to proceed with this case.
 16

 17          4 . Applicability and enforceability of arbitration clauses, if any;

 18          5. A list of all related litigation pending in other courts, a brief description of any such
 19
                 litigation, and a statement as to whether any additional related litigation is
 20
                 anticipated;
 21

 22          6. A description of core factual and legal issues - the parties should address any specific

 23              contracts, or contract provisions, on which Plaintiff's claims are based; any specific
 24
                 statutes the interpretation of which will be required to adjudicate Plaintiff's claims;
 25
                 and any specific Regulations the interpretation of which will be required to adjudicate
 26
                 Plaintiff's claims;
 27

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Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 31 of 44 Page ID #:51




 1       7. The parties' tentative views on an ADR mechanism and how such mechanism might
 2
            be integrated into the course of the litigation;
 3
         8. A discovery plan, including whether discovery should be conducted in phases or
 4
            limited; and if so, the order of phasing or types of limitations of discovery;
 5

 6       9. A plan foi discovery of electronically stored information. Regarding the production

 7          of electronically stored information, the parties are encouraged to have their
 8
            respective IT consultants/employees participate in the meet and confer process. At a
 9
            minimum, the following issues should be addressed with respect to the production of
10

11          electronically stored information: (1) the information management systems employed

12          by the parties; (2) the location and custodians of information that is likely to be
13
            subject to production (including the identification of network and email servers and
14
            hard drives maintained by target custodians); (3) the format in which electronically
15
            stored information will be produced; (4) the type of ESI that will be produced, i.e.,
16

17          data files, emails, etc.; (5) appropriate search criteria for focused requests;

18       10. Whether the parties are prepared to stipulate that discovery and/or pleading stays
19
            entered by the Court for case management purposes shall not be considered in
20
            determining the statutory period for bringing the case to trial under Code of Civil
21

22          Procedure Section 583.310.

23       11. Recommended dates and times for the following:
24
                a. The next status conference;
25
                b. A schedule for alternative dispute resolution. if it is relevant;
26

27
                c. A filing deadline (and proposed briefmg schedule) for anticipated non-

28                  discovery motions, if any.



                                                       4
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 32 of 44 Page ID #:52




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  2
             To the extent the parties are unable to agree on the matters to be addressed in the Joint
  3
      Initial Status Conference Report, the positions of each party or of various parties shall be set
  4

  5
      forth separately in the Joint Statement. The parties are encouraged to propose, either jointly or

  6   separately, any approaches to case management that they believe will promote the fair and
  7
      efficient handling of this case. The Court is particularly interested in identifying potentially
  8
      dispositive or significant threshold issues the early resolution of which may assist in moving the
  9
      case toward effective ADR and/or a final disposition.
 10

 11           Pending further order of this Court, and except as otherwise provided in the Initial Status

 12   Conference Order, these proceedings are stayed in their entirety. This stay shall preclude the
 13
      filing of any answer, demurrer, motion to strike, or motions challenging the jurisdiction of the
 14
      Court; however, each defendant is directed to file a Notice of Appearance for purposes of
 15
      identification of counsel and preparation of a service list. The filing of such a Notice of
 16

 17   Appearances shall be without prejudice to any challenge to the jurisdiction of the Court,

 18   substantive or procedural challenges to the Complaint, without prejudice to any affirmative
 19
      defense, and without prejudice to the filing of any cross-complaint in this action. This stay is
 20
      issued to assist the Court and the parties in managing this "complex" case through the
 21

 22   development of an orderly schedule for briefing and hearings on procedural and substantive

 23   challenges to the complaint and other issues that may assist in the orderly management of this
 24
      case. 'fbjs stay shall not preclude the parties from continuing informally exchange documents
 25
      that may assist in their initial evaluation of the issues presented in this case, however shall stay
 26
      all outstanding discovery requests.
 27

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Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 33 of 44 Page ID #:53




 1            Hereafter, all management stays, including stays of discovery issued by the Court, shall
 2
     not be considered as a stay per Code of Civil Procedure section 583.310 unless specifically
 3
     ordered by the Court.
 4
              Plaintiffs' counsel is to serve this Initial Status Conference Order on counsel for
 5

 6   Defendant, or if counsel is not known, on Defendant within five (5) days of the date of this

 7   Order.
 8
              If the Complaint has not been served as of the date of this Order, Counsel for Plaintiff is
 9
     to serve the Complaint within five (5) days of the date of this Order.
10

11

12   Dated:   '(~2,.'2-- • f ~
13                                                        JOHN ~~~Srt~~dJ \!'JDl~ JR.
14                                                         Hon. John Shepard Wiley
                                                            Judge of the Superior Court
15

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        Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 34 of 44 Page ID #:54
... .   '


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    I
                                                              ....
                                         VOLUNTARY EFFICIENT LITIGATION STIPUl;ATIONS




             •
                                           The Ear1y Organizational Meeting Stipulation, Discovery
                                         Resolution Stipulation, and Motions in Umine Stipulation are
            Sus-tor Court of CatttonU.   voluntary stipulations entered into.by the parties. The parties
            Cou~ Of..._ At~~~"-
                                         may enter into one, two, or all three Qf the stipulations;
              I        ,r   . , ..       however, they m.aY not alter the ~tip~Lations as written,
              l                   '
                                         because 'the Court wants to ensure uniformity of application.
             ~An--~
             a.rAModllaon                These stipulations all[l · meant to encourage cooperation
             utlptlon 8ec:tlon
             Loa Angellia COUIIty
                                         between the parties and to assist In .resolving issu~ in a
             Bar AIMdatkln L.abof and
             ~
                            .
                            U.Sec:tlon   manner thaJ promotes economic case reso,ution and judicial
                                         efficiency.

                                             The       following     organizations   endorse the   goal of
                                         promoting efficiency          in   litigation and ask that counsel
                                          consider using these stipulations as a voluntary way to.
                                          promote communications and procedures ·among counsel
                                          and with the court to falrty re~e issues In their cases.

                                          +Loa Angeles County Bar AMoclatlon Litigation Section+

                                                       • Los Angeles C~nty Bar Association
                                                        ~bor and E~ployment Law Section•
              am:_-
                                              •consumer Attorneys Aaao~iatlon of Los Angeles•


                                                       •southem Callfomla Defenu Counsel•

                                                   •Aaaoclatlon of Business Trial Lawyers•

                  Clllllomll"ar'DJ-It
                  a...,.. ••• =Ill an           •callfomla Employment Lawyers Association•
... Case 2:15-cv-03813-MWF-PJW                    Document 5-1 Filed 05/20/15 Page 35 of 44 Page ID #:55




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                 TEI..£PHON£ HO.:                    FAX NO. (o,laNI):
     ~ NlON!IS(OpiDnll):
       · ATTOAH!Y P'OR f...-.i:
     SUPERIOR COURT OF CAUFORNIA. COUNTY OF LOS ANGELES
     cou .. ,,.__ AtOIIESS:

     ~    ...-.-:                            ..
     DI!FEHC»oNT:

                                                                                           CAIE,._
                 STIPULATION-EARLY ORGANIZATIONA_L MEETING

           Thts stipulation Is Intended to encourage cooperation among the parties at an aarty stage In
           the litigation and to aulll the pa~•• In efftdent cue re_solutJon.
           The parties agfM that:
            1. The parties commit to conduct an Initial conferenCe (In-person or via taleconference or via
               vldeoconf8rence) wltt\ln 15 days from the data this s11pulatlon Is signed, to discuss and consider
               whether there cBtJ be egtBement on the ~:

             -      a. Ale motions to dlallenge the pleadings necessary? If lhe laiue can be rasolvad by
                       amendment as of right. or If the Court would allow leave to amend, could an amended
                       ~plaint resOlve moat or al ~the Issues a demurrer ~lght ~arv.1ae raise? If so, the parties
                       agr~ to work through pleading Issues so lhat a darll.lrrer need only raise II~ they cannot
                       raaalve. Ia the Issue that the darandant seeks to raise amenable to reaolution on demurrer, or
                       ~ some either type ~motion be preferabkt? Could. a Yoknary tlrgetad exchange of
                       documents or Information by illlY party cure .-. uncertainty In the p~lnga?

                    b. Initial rootual exchange~ ~documents at the ·cora· of the OllgatJon. (For tpXanple, In an
                       employment case, the emPioYm~ ~. parionnel fie and documenls relating to the
                       conduct In question could be considered ·~• In ~ personal Injury caae, an Incident or
                       poUce report, medical recorda, and repair or maintenance records codd be considered
                          •core.1;
                     c. Exchange of names and co~ Information of witnesses;
                                      .                                                        .
                     d. My Insurance agreement that may be av~ to aatllfy part or al of a              judgma~       or ID
                        ~nlfy or reimburse for ~ymeota made to satisfy a judgment;

                     a. Exchange of any OCher lnformlltlon that might be helpful to facllbltrt undentandlng, handling.
                        or resolution of the cue In a m.vter that preserves otJiectlona or pitvllegU by .Qreemerlt;

                     r.   Controlling Issues ~ 111w that. 1f r8lolved ear:ty, w11 promote eftk:lency .n economy 1n oCher
                          ~of the cue. Also, when .,.t how IUCh I..U.. C8fl be presantld to the Court;

                     g. Whether or .when the cue should be ICheduled wlh a ..alement ol'llcer, what discovery or
                        aut Mlf'D DC\ legal   tuu•• reeeonat11y requnc~ to make iealemn cleculllonl ~.
                        nt whaiher the J)lr1lel wish to use a 1111ng )Jdge or a pffvata    medlltar
                                                                                             or other optlori. •

                                                                                                                Plgl1af2
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 36 of 44 Page ID #:56




                 discussed In the •Alternative· Dispute Resolution (AOR) Information Package• s61'Ved wllh the
                 eamplalnt;

            h. Comput8tlon of d~ages. Including documents not privileged or protected from disclos~, on
               which such computation Is based;                      ·

            I.   ~her the case Is s~e for the Expedited Jury              Trtal procedures     <• Information ~t
                 w.yw.llsuperlo~ourtotR ~er 'Civlf and then under         •General Information•).

      2.         The time for   a. defending party to respond to a COfT!plalnt or cross-complaint ~I be extended
                 to       '                   for the complaint, and                               for the cioss-
                          jiiiiRT DATE)                                      (IIIEJWT DATE)
                 cqmplalnt. which Is COI'flprlsed of the 30 days to respond u~ GovefMl8Cll Code § 68616(b),
                 ~ th;e 30 days parmi~ by Code of Clvl Procedure ~n 10~(a), good cause having
                 been fOWld by the C~l Supervising Judge due to the case management benefits provided by
                 this Stlp\Mtlon.

      3.         The parties wHI prepare a joint report titled •Joint Status Report Pursuant to Initial Conference
                 and Ealfy Organizational Meeting Stipulation, aitd If deslrpd, a proposed order summatizlng
                 results of their ~ an(l confer and advlalng the Covrt of ~my way It may assist the parties'
                 elftdent conduct or resolution of the case. The paitles ahal attach the Joint Status Report to
                 the Case Manag~t Conference statament, aild file the docwnents whttn ~ CMC
                 statement Is due.

       4.         References to •days• mean calendar days, unless OCherwlse noted. If the date for pt!!fformlog
                  J111Y Bet puisuant fa this sUputation faUa on a Saturday, Sunday or Court holiday, then
                                                                                                       the time
                  for performing that act ~ be extended to the next Court day

       Th8 following parties stipulate:

       Dale:
                                                                   ,.
                    (TYPE OR PRJ NT NAME)                                    .(A~EY FOR PLAINTlff)
       Dale:
                                                                   ,.
                   · (1YPE OR PRINT NAME) .                                  (ATTORNEY FQR DEFENDANT)
       Date:
                                                                   ,.
                    (TYPE OR PRINT NAME)
       Date:                                                        ,.       (ATTORNEY FOR DEfaDANT)


                    (1YPE OR PRINT NAME)                                     (ATTORNEY        FOR DEFENOANT)
       Dale:
                                                                    ,.
                    (TYPE OR PRJt-rr NAME)                               (ATTORNEY FOR
       Date:
                                                                    ,.
                    (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
       Dalla:
                                                                    ,.
                    (TYPE OR PRINT NAME)                                 (AnoRNEY FOR

        =::=tCM/1          1      8TIPULAnON- EARLY ORGANIZATIONAL MEETING
     Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 37 of 44 Page ID #:57
'•   .

         --~Cir~CII_,-,WIIIIlllfAn_.,

                                                                    "~~~~--                         ·--a.Nio......

             TS.EPHCtE NO.;                                f,;)(HQ. ~
         E..wt..ADD~

         SUPERIOR COURT OF CAUFORNlA. COUNlY OF LOS ANGELES
         COtJRTHOC,IIIE ADOREaS:

         P\AIH'nfl':

         DEPEHDAHT:


                            SnPULAT10N -DISCOVERY RESOLUTION

               Thla .tlpulatlon Is Jntended to provide a fut and lnfonnal reeolutlon ~f dlacovary Issue•
               through limited paperwortt and an Informal conference wHh the Court to aid In the
               resolution of the Issues.

               The partlea agree that:
                1. Prior to the disoovery cut~ In this action, no diSCOY8fY motion shall be filed or heard ooless
                   the moving party first makes a written request for an lnfonnal Discovery Conference pursuant
                   to the terms of this stipu~on.

                2. At the lnfonnal Discovery Confarence the Court wUI cona~er the dispute presented by parties
                   and detsrmlne whether lt can be resolved Informally. Nothing set for1h herein wil.praclude a
                   party from making a record at the conclusion of an Informal Dilooveiy Conference, either
                       orally or In writing.

                3. FollaNing a reasons~ and good faith attempt at an lnformalraaolutlon of each lasua to be
                   presented, a party may raquaat an lnfonnal Discovery Conference pursuant to the foDowing
                       procedures:

                           a. The party requesting the lnfonnal Discovery ~farance wiD:

                              I.   File a Requeat for Informal DlsCOVB(Y Conference with the clerk's office on the
                                   approved form (capy attached) and deliver a courtesy, conformed copy to the
                                   aSsigned departmaOt;     .             .                  .               .

                             n.    Include a ~lief summary d ~ dlsp~ and specify the ~let requested; and

                             W.    Serve the ~ party pursuant to any IMJthorizad or agreed method of aarvlce
                                   that enauree that the QppOIJng party ~· the Request for Informal Dlscovery
                                   Confarenoe no kiter than the naxl court dey following the ftlng.

                           b. Any Answer to a Requeat for Informal Discovery Conference muat

                              I.   Alao be filed on the approved form (aJPY ~);

                             II.   ~e          a brfef aurnmaty of why the raqueetad relef lhould be denied;

                                                 STIPULAnON- DISCOVERY RESOLunON
      Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 38 of 44 Page ID #:58
·.'   '
          '   .



                          m.   Be filed within two (2) court days of receipt of the Request; and

                         lv.   Be ~rved on the opposlog party pursuant to any authorized or agreed upon
                               ~th<?d d service that ensures that the opposing party receives the Answer no
                               later than the next court day following the filing.

                     c. No other pleadings, including but not Rmited to exhibits,   decl~tlon~, or attachments.   will
                        be accepted.

                     d. If the Court has not granted or denied the Request for Informal Discovery Conference
                        within ton (10) days follovMg the flRng of the Request. then It shal be deemed to have
                        been denied. If the Court acts on the Request, ~ parties wUI be notified whether the
                        Requ~st for Informal Discovery Conference h8s be8n granted or denied and, if granted,
                        the date and time of the Informal Dlscovely Conference, which must be within twenty (20)
                        days of the filng of the Request for Informal Discovery Conference.

                     e. If ~ oonference Is not held within twenty (20) days of the flUng of the Request for
                        Informal Discovery <;:onference, unless extended by agreement of the parties and tha
                        Court. then the Request for the Informal Oi&covery Conference shall be J)eemed to have
                        been denied at that time.

                  4. Jf (a) the Court has denied a conference or (b) one of the time deadlines above has expired
                     wtthout the Court having acted or (c) ~ lnfonnal Discovery Conference is ooncluded without
                     resolving the dllput,, then a party may file a discovery motion ~ address unresolved Issues.

                  5. The parties hereby further agree that the time for making a motion to compel or other
                     discoVery motion ia tolled frQm. ~ date of filing of the Request for lnfonnal Discovery
                     Conference until (a) the request Is denied or d~med denied or (b) twenty (20) days after the
                     flHng of the.Request for Info~ Discovery Conference, whichever ls earlier, unless extended
                     by Order of the Court.

                     It Is lt!e ~eratanding .and Intent of the parties that this stipulation lhall, for each discovery
                     dispute tq which It applies, conatllute a writing memorializing a •apedfic later date to whld'l
                     the propounding [or demanding or requesting] party and the responding party have agreed In
                     writing,· within the maa.nlng of Coda CMI Procedure sectJons 2030.300(c). 2031 .320(c), and
                     20~.290(c).

                  6. Nothing herein wiJ1 pradude any party from applying ex patfe for appropriate relief, Including
                    . an order shortening tJma for a motJon to be heard concerning ~ry.

                  7. Any party may terminate this aUpU&tlon by giving twenty-one (21) days notice of Intent to
                     termhata the stipulation.

                  8. References to "days• mean caleodar days, ~ otherwise noled. If~ date for perfonning
                     any act puns~ to thla stiputatfon frl:lls on a Saturday, SUnday ot Court holiday, then the time
                     for performing ~ act ahaU be extended tQ the next Cowt day.




                                          $11PULAnON- DISCOVERY RESOLunON                                    Plga2aU
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 39 of 44 Page ID #:59




       The following partie• stipulate:

       Date:

       Date:

       Date:

       Date:
                   (riPE 6R PiUNT ~)
       Date:

       Date:
                                                            ~"~~--------------~

                                                            ~n~RM--------------~
       Date:
                                                    >
                                                        ---u~~n~&hW~~fMOR:-
                                                                         __--------~--------------_-Jr---




                                 STIPULATION- DISCOVERY JtESOLU'nON
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 40 of 44 Page ID #:60




    -NO-O.ATT_.,CIII>AIIT\'MIHOIIT A~
                                                               nmr . . _                              -~Cio*'alll ....




                        .
        TB..EPttOIE NO;       FAXNO. (OpiDNI):
    E~wc::=
    SUPERIOR COURT OF CAUFORNIA, COUNTY OF LOS ANGELES
    COURTHOUSE .

    PlAIHTlf'f':




                                                                                         I;AR-
                     INFORMAL DISCOVERY CONFERENCE
                        to the ....
                    IDUNt~~ant          R8101ution Stipt.Utlon of lhe parties)
           1. This documont , . _ kl:
                         Request for lnrormal Discovery Conference
                        B
                   ..
                ..,~
                         Answer to Request for Informal Dlscovety Conference
           2. Deadline for Court tp dectde on Request
                                     .
                                                                     ·.
           3. Deadline for Court to hQJd Informal Discovery Conference:
                   ·~-.fl        ..   ~
                                                                               · tN.rt c~m 10 Clllndar daye ra~cJM~g ~or
                                                                                                     (lnMrt c11te 20 caa.ncs.r

           4. For a Requnt for ln,fonnal OJ.covery Conhreflce, ~ deacrlbe the nature of the
              dlacovery dlaputa, ln~udlng the .facta and legal argu~~ta at luye. For "' AniWer to
              Requeat for lnfonnal Olacov..y Confe,.n~. Jm!11x deacrlbe why th' Court ahould deny
              the requeated diKovery, lndudlng the facta and legalargumenta at luue.




                                           INFORMAL DISCOVERY CONFERENCE
                                      (pwluMt to . . Dlla:Nery ~lon Slfpelellcn rlthe J*lel)
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 41 of 44 Page ID #:61




   -~-OPAn_,.lliiPMmllllall'~
                                                          """--                           --.~    ........


                   ~NO.:                         fAX NO. (~
    E~~(~
      An   fOR
    SUPERIOR COURT OF CAUFORNIA. COUNTY OF LOS ANGELES
    COURTHOUIII! ADCtWU~:

    f'\.AIHR'f':

    OEFEHMHT:


                   snP~LATION AND       ORDER- MOTIONS IN LIMINE


           This atJpulatJon Ia Intended to provide fut and Informal resolution of evidentiary
           Issues through diligent efforts to define and dlacuA such Issues and Umlt paperwork.


           The parties agree that:

            1. At least _ _ days before the final statu~ conference, each party wll provide all oth~
               parties with a list containing a one paragraph explanation of each proposed motion In
               limine. Each one parJigraph explanation must lda.ntJfy the substance of a single proposed
               motion In llmlne and the groulds for the proposed motion.

            2. The parties thereafter wiD meet and confer, either ·In person or Via teleconference or
                   videoconference, concerning all pro~ motions In limine. In that meet and confer, the
                   parties wll determine:                                               ·

                   a. Whether the parties can atlputata to any of the prop~ motions. If~ parties so
                      ~ulata, they may file a stipulation end proposed order wtth the CoUrt.

                   b. Whether any of the proposed motions can be briefed and submitted by means of a
                      short joint statemenJ of lsaue.s . .For eact'! motion \Vhlch can be ad<J~ by a short
                      Joint s~tamef1l of I88U8s, a short joint statement of Issues mu~t be ftled with the Court
                      10 days prior to the final s~tus confer,~. Each side's portion of the short joint
                      statement of Issues may not e~ceed three P¥8· The parties ~ ~t and oclrlf!Jr to
                      agree on a date and rnamer for e)(~1ng the parties' ~e portions of the
                      short joint s1atament of luues and the process for fling the short joint statement of
                      Issue's.                                                ·
            3. All p1lP088d motions In Umlne that -.re 410t either the subject of a stlpui&Uon or b~ via
               a short joint statement c:IISiuea wUI be briefed and ftlad In accordance with the California
               Rutes of Court and the toa Angeles·Supertor Cot.rt Rues.




                                   SnPULAnON AND ORDER- MOnON& IN UMINE                                  ..... ,af2
    .Case 2:15-cv-03813-MWF-PJW             Document 5-1 Filed 05/20/15 Page 42 of 44 Page ID #:62



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                                                                        ~--                     l
           The following partiE?s stipulate:

           Date:
                                                           ,.
                     (TYPE OR PRWT NAME)                             (ATTORNEY FOR PLAINTIFF)
           Date:
                                                           ,.
                     (TYPE OR PRINT NAME)                           <ATIORNEY FOR DEFENDANT)
           Data:
                                                           ,.
                     (TYPE OR PRINT NAME)                            (ATIORNEY FOR DEFENDANT)
           Date:                                           ,.
                     (TYPE OR PRINT NAME)                            (ATIORNEY FOR DEFENDANT}
            Date:
                                                           ,.
                     (TYPE OR PRINT NAME)                        (ATIORNEY FOR
            Date:
                                                           ,.
                     (TYPE DR.PRINT ~E)                          (ATTORNEY FOR
            Date:
                                                            ,.
                     (TYPE 9R PRINT NAME)                        "(ATTORNEY FOR


            THE COURT SO ORDERS.

             Date:
                                                                          . ~OFflCER




                                811PULAnoN ANt) ORDER - MOTIONS IN ._IMINE
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 43 of 44 Page ID #:63
.'
                                       SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                          NOTICE OF CASE ASSIGNMENT- CLASS ACTION CASES
                                                   Case Number---- -- -- - - -- - - --
                                            THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
                              Your case is assl~taed for all purooscs to the iudicial officer indicated belowllocal Rule J.J(c
                                              ASSIGNED JUDGE                                 DEPT               ROOM

                                     Judge Elihu M. Berte                                     323                 1707

                                     Judge ~P:"Righberger                                     322                 1702           I

                              v    ~John Shepard Wiley, Jr.                             c311 _)                   1408

                                     Judge Kenneth F~cman                                     310                 141 2                BC 57 7 4 9 8
                                     Judge Jane Johnson                                       308                 1415

                                     Judge Amy D. Hogue                                       307                 1402

                                     OTHER

                                                Instructions for handling Class Action Civil Cases
The following critical provisions of the Chapter Three Rules, as applicable in the Central District, are summarized for your assistance.

APPLICATION
The Chapter Three Rules were effective January I , 1994. They apply to all general ci'(il cases.

PRIORITY OVER OTHER RULES
The Chapter Three Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure section 170.6 must be made within 15 days after notice of assignment for all purposes to a
judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Individual Calendaring Court will be subject to processing under the following time standafds:

COMPLAINTS: All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days of filing.

CROSS-COMPLAINTS: Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is
filed . Cross-complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

A Status Conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the complaint.
Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement, trial date, and expert
witnesses.
FINAL STATUS CONFERENCE
The Court will require the parties at a status conference not more than I 0 days before the trial to have timely filed and served all motions
in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested jury instructions, and special jury
instructions and special jury verdicts. These matters may be heard and resolved at this conference. At least 5 days before this conference,
counsel must also have exchanged lists of exhibits and witnesses and have submitted to the court a brief statement of the case to be read to
the jury panel as required by Chapter Eight of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the Court, and
time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party or if appropriate on
counsel for the party.
Tbia is not a complete cklincatioa of tb~ Cbaptu Tbru Rulu, aad adherence oaly to th~ above provfsiCMII Is tb~rcforc aot a cu.rantee teaJast !be Imposition of
sanctio•s under Trial Court Delay Reduction. Careful rcadinc and co111pliancc with tltc actual Chapter Rules Is absolutely impeutive.

Given to the Plaintiff/Cross-Complainant/ Attorney of Record o n - - - -- -                          SHERRI R. CARTER, Executive Officer/Clerk

LACJV CCW 190 (Rev09/13)
LAse Approved 05-06                                                                                       By - - --              -   - --   ____J   Deputy Clerk
For Optical Use
Case 2:15-cv-03813-MWF-PJW Document 5-1 Filed 05/20/15 Page 44 of 44 Page ID #:64




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